EXHIBIT 41
                                                                                       DFDRB#87/I2
                                                                                       PBMN#12l12

                                                  POLICE DEPARTMENT
                                                   CITY OF NEW YORK

                                                                         December 20,2013

  From:              chairman, Patrol Borough Manhattan North Firearms Discharge Advisory
                                                                                                   Board
  To:                Chairman, Department Firearms Discharge Review Board

  SUBJECT:          FINDINGS AND RECOMMENDATIONS

           on Tuesday, September 25 , 20.12,           approximately I 94 I hours , on-duty Detective Edwin Mateo, tax
                                                   -at
           registry- #9 I 7 l2 I , on-duty Police officer Andrew i(n ss, tax registry *gossSz, and on-duty police officer
           Michael Green, tax registry #930265, assigned to Emergency õ.*1r..
                                                                                          unit Truck #2,hadthe occasion to
           discharge their fuearms.

  2.      On Friday, December 20,2013 the Patrol Borough Manhattan North Firearms
                                                                                  Discharge Advisory Board
          met and reviewed the faots and circumstances in this case.

  J.      The findings of the Board are:
          A. X            No violation of Department Firearm Guidelines
          B.              Violation of Department Firearm Guidelines
          C. _            Accidental Discharge-No Violation
          D. _.-          Accidental Discharge-Violation

  4.      The Board recommends the following:
          A.                No Cor¡ective action be taken
          B.                Member concemed to ¡eview laws and instructions RE: Discharge of Fi¡earm
          C.                Member concerned to receive additional firearm instruction
          D.                Member to receive Tactics instruction
          E.                Other (Conunand Discipline or Charges and Specifications, etc.)

          BOARD MEMBERS

RANK               NAME               ASSIGNMENT                  COMMAND                     SIGN
D,C.               O'Neill               x,o.                     PBMN

Insp.              Hurley                Adjuønt                  PBMN

Capt.              Natale                c,o.                     PBMN-IU

Capt.             \Meisberg              c.o.                     DB

Capt.             Charlson              c.o.                     NBMN
Capt,             Perez                  x.o.                     HBMN
Capt.             Coates                x,o.                     TBD3

Det.            €¿rnlfffif-             Inv.                     24 DET. SQD.
               â()6ulr\nG




                                                                                                                             DEF 16722
                                                                            D.F.D.R.B. # 087-12
                                                                         PBMN F.D.R,B. # 012-12



                                        POLICE DEPARTMENT
                                         CITY OF NEW YORK

                                                                               June 13,2014


From: Chief of DePafiment
To:         Commanding officer, Patrol Borough Manhattan North

subject: FINDINGS OF DEPARTMENT FIREARMS DISCHARGE REVIEW BOARD

    1   .At 1g41 hrs, September 25,2012, Del. Edwin Mateo, Tax# 917121, assigned to Emergency
Seruice Truck #2, did have occasion to discharge a firearm within
                                                                  your command.

                                                                                              reviewed
   Z.     On January 21,2014, the Department Firearms Discharge Review Board met and
                                                                                in this case.
the facts and circumâtances in this case. The Boe rd concurs with your findings

    g.   The officer concerned shall be notified without delay. Verification of this notification
                                                                                                  shall be
                                                                                          of the
forwarded to the Bòard, indicating time and date the officer was notified and the name
commanding officer who made the notification.
                                                                                 placed in the member's
    4. A copy of the Firearms Discharge Review Board's findings shall be
command personnel folder'




                                                                                        p
                                                                                 CHIEF OFDEPARTMENT




                                                                                                  DEF 16723
                                                                           D.F.D.R.B. # 087-12
                                                                        PBMN F.D.R.B, # 012.12



                                       POLICE DEPARTMENT
                                        CITY OF NEW YORK

                                                                             June 13,2014


From: Chief of Department
To:      Commanding Officer, Patrol Borough Manhattan North

Subject: FIND¡NGS OF DEPARTMENT FIREARMS DISCHARGE REVIEW BOARD

  1  . At 1941 hrs, September 25,2012, P.O. Andrew Kress, Tax# 940264, assigned to
Emergency Service Truck #2, did have occasion to discharge a firearm within your command.

   2.     On January 21,2014, the Department Firearms Discharge Review Board met and reviewed
the facts and circumstances in this case. The Board concurs with your findings Ín this case.

   3. The officer concerned shall be notified without delay. Verification of this notification shall be
fonruarded to the Board, indicating time and date the officer was notified and the name of the
commanding officer who made the notification.

   4.  A copy of the Firearms Discharge Review Board's findings shall be placed in the member's
command personnel folder.




                                                                                                 DEF 16724
                                                                             D.F.D.R.B. # 087-12
                                                                          PBMN F.D.R.B. # 012.12



                                        POLICE DEPARTMENT
                                         CITY OF NEW YORK

                                                                                June 13,2014


From: Chief of Depaftment
To:       Commanding Officer, Patrol Borough Manhattan North

Subject FINDINGS OF DEPARTMENT FIREARMS DISCHARGE REVIEW BOARD
   1  . At 1941 hrs, September 25, 20'12, P.O, Michael Green, Tax# 930265, assigned to
Emergency Seruice Truck #2, did have occasion to discharge a firearm within your command

    2. On January 21,2014, the Department Firearms Discharge Review Board met and reviewed
the facts and circumstances in this case. The Board concurs with your findings in this case.

    3.   The officer concerned shall be notified without delay. Verification of this notification shall be
forwardèd to the Board, indicating time and date the officer was notified and the name of the
commanding officer who made the notification.

    4. A copy of the Firearms Discharge Review Board's findings shall be placed in the membe/s
command personnel folder.




                                                                                       OFDEPARTMENT




                                                                                                    DEF 16725
                                                                                   DFDRB#87/12
                                                                                   PBMN#12112

                                            POLICE DEPARTMENT
                                             CITY OF NEW YORK
                                                                        Decernber 20,2013


                 Chairman, Patrol Borough Manhattan
                                                        North Firearms Discharge Advisory Board
From:
                                                              Review Board
To:              Chairman, Department Firearms Discharge

SUBJECT:         FINDINGS AND RECOMMENDATIONS
                                                                             on-duty Detective Edwin Mateo' tax
 I       On Tuesday, September 25' 2Ol2                                     '
                                                                            Ltty +IOOSSZ' and on-duty Police Officer
         registry #gl7l2l,on-duty Police
                                                                            ervices Unit Truck #2' had the occasion to
         Michael Green, tax registry #930
         discharge their firearms'
                                                                                                               Board
                                                             Manhattan North Firearms Discharge Advisory
 2       on Friday, December 20,2013 the Patrol Borough
                                                        in this case'
         merand ievi"we¿ the facts and circutnstances

 3.      The findings of the Board are:
         A.              No violation of Department Firearm Guidelines
         B.              Violation of Department Firearm Guidelines
         C.              Accidental Discharge-No Violation
         D.               Accidental Discharge-Violation

 4.      The Board recommends the following:
         A.            No Corrective action be taken
                                                             instructions R-E: Discharge olFirearm
         B.            Member concerned to review laws and
                                                                       instruction
         C.                    concerned to receive additional hrearm
                          Member
         D                Member to receive Tactics instruction
                                                                and Specifications, etc.)
         E.               Other (Cornmand Discipline or Charges

 5.      BOARD MEMBERS
                                                                 COMMAND                      SIGN
RANK              NAME              ASSIGNMENT

                                        x,o.                     PBMN
D.C.              O'Neill

                                        Adjutant                 PBMN
Insp.             HurleY

                                        c.o.                     PBMN-IU
 Capt.             Natale

                                        c.o.                      DB
 Capt.            Weisberg

                                        c,o.                      NBMN
 Capt.            Charlson

                                        x.o.                      HBMN
 Capt.            Percz

                                        x.o.                      TBD3
 Capt.            Coates

 Det.            --ffirffi-             Inv.                      24 DET. SQD

               å<](+tr5rrn6


                                                                                                                       DEF 16726
                                                                    REPORT UNDER
                                                                    P.G.212-29
                                                                    FDRB #87s.-12
                                                                    PBMNFD #12s.-12

                                  POLICE DEPARTMENT
                                   CITY OF NEW YORK

                                                       December 16,2013

From:          Shooting Team Leader, Patrol Borough Manhattan North

To             Chief of Department

Subject       FINAL REPORT OF FIREARMS DISCHARGE FDRB #87s"12


OPENING

                On Tuesday Septemb er 25, 2012, at approxim ately 19 4l hours, on-duty Detective
Edwin Mateo, tax registry #gfltzl, on-duty Police officer Andrew Kress, tax registry #906592,
on-duty police Officãr Michael Green, tax registry #930265, all assigned to Emergency Services
Unit Truck #2, andother mernbers of their unit were attempting to deploy a pole camera into 113
Morningside Avenue, Apartment #5D, when they were confronted by Mr' Mohamed Bah, a
violent barricaded Emotiãna[y Disturbed Person, wielding an eight (8) inch kitchen knife. Mr.
Bah lunged at Detective Mateo and Police Officer Kress with the knife causing injuries to
Detective Mateo. Detective Mateo deployed a less lethal Arwen 37 Less Lethal Munitions
Launcher and police Officer Kress deployed an X-26 Taser in an effort to stop the threat and
                                                                                          posed by
attacks by Mr. Bah. The less than lethál devices were ineffective in stopping the threat
Mr. Bah. A third attempt to utilize a less lethal device        was  made  when    Sergeant Joseph
McCormack, tax registry #gtg¡g¡, assigned to Emergency Services Unit Truck #2, deployed an
M-26 Taser with ne-gative results. As a result of the threat of imminent death or serious injury,
Detective Mateo, pófice Officer Kress, and Police officer Michael Green discharged their
service weapons a total of ten (10) tirnes, striking Mr. Bah several times. Immediate rnedical
                                                                                                aid
was renderéa Uy Detective Christopher ZaberÍo, tax registry #907614, assigned to        Emergency
Services Unit Truck #2, and Emergency Medical Personnel on the scene. Moharned Bah
                                                                                               was
transported to St. Luke,s Roosevelt Hospital Center where he succumbed to his injuries and was
pronåunced al 2016 hours, by Doctor Ralston. Detective Mateo, Police Officer Kress, and
police Officer Green were transported to New York Presbyterian - Weill Cornell Medical Center
for treatment of tinnitus and.ron tif" threatening trauma related to the knife attacks by Mr. Bah.
The details are as follows:




                                                                                            DEF 16727
NARRATIVE

                On Monday, Septernb er 24, 2012, Ms. Hawa Bah arrived at John F. Kennedy
International Airporl from her native country, New Guinea, Africa. Ms. Bah was in New York
City with the intention of visiting her son, Mohamed Bah, who resided at 113 Morningside
Avenue, Apartment #5D, New York, NY. Ms. Bah was concemed for her son's well being after
being informed by farnily mernbers that his recent behavior was strange and erratic. Upon
arriving at the airport, Ms. Bah was rnet by her brother, Oumar Bah. The pair travelled to 113
Morningside Avenue, to try and speak with Moharned. When Ms. Bah knocked on the door to
apartment #5D, Mohamed answered but refused to allow them to enter. Mohamed appeared
nnkempt, disheveled, and had an apparently recent injury above his right eye' Mohamed told his
rnotheithat he did not want to talk and asked her to come back on the following day' Ms. Bah
and her brother left the location and went to spend the night with her sister, Rokia Kaba, who
resides at 857 Crotona Park North, Bronx, NY. The following day, Tuesday, Septernber 25,
2012, Ms. Bah along with her niece, Bintou Kaba, travelled to 113 Morningside Avenue where
they were met by Aþha Diallo, Mohamed's cousin. Ms. Bah and Mr. Diallo again attempted to
speak with Moharn"d. Mohutned answered the door for them however he was completely naked
and again refused to allow them entry into his home. At approximately 1841 hours upon
returning downstairs to the front of 113 Morningside Avenue, Mr. Diallo called 911 at the
request óf Vtr. Bah. Ms. Bah then took the cell phone and reported to the 911 operator that her
son had mental issues, was depressed, and was not acting right. Ms. Bah requested the police to
respond to assist in obtaining medical treatment for Mohamed. At approximately 1843 hours,
Poiice Officer Brian Stanton, tax registry #949693, and Police Officer Esmeralda Santana, tax
registry #g428I9, assigned to 26th Precinct Sector Adarn received a radio assignment of 10-54
BOp witti a Psychiatric History. Lieutenant Robert Gallitelli, tax registry #928343, assigned as
 the 26rh Precinct Platoon Commander, along with Police Officer Vincent Johnson, tax registry
#948055, also responded to the radio assignment. The lieutenant and the sector both arrived at
the scene at the same time. Upon exiting his RMP, Officer Stanton was met by Ms' Bah and Mr.
Diallo in front of the building. Ms. Bah explained to Officer Stanton that her son was acting
irrationally, but had no history of mental illness or violence. No mention was made of possible
weapons. Officer Stanton relayed this i
proceeded to apartment #5D, located on
reaching the 5th Floor, Officer Stanton p
#5D. Officer Johnson positioned himself to the
opposite the door and tó the left next to the stairway railing. Lieutenant Gallitelli was positioned
Uãt¡n¿ Offrcer Santana. Officer Stanton knocked on the door several times requesting that
Mohamed open the door. The door partially opened with Mohamed standing behind it. Only the
right side oi Mohu-ed was visible. He was entirely naked with an eight (8) inch kitchen chef
mif" in his right hand. Mohamed yelled out, "it's not me, it's not me" and "I'm not Mohamed".
Initially Officer Stanton and Officer Santana each placed one (1) of their feet in the doorway to
block ihe closing of the door by Mohamed. When Officer Stanton observed the knife in
Mohamed's hand, he stepped back and alerted Officer Santana of the large knife. Officer
Santana stepped back at which time the door closed shut and the internal lock mechanism was
engaged. óin..r Stanton and Offrcer Santana informed the lieutenant of their observation of the
mife. Lieutenant Gallitelli notified the radio dispatcher and requested the response of
Emergency Services personnel for their assistance regarding a barricaded Emotionally Disturbed




                                                                                             DEF 16728
person with a knife. Sergeant Joseph McCormack, tax registry #919383, and Detective Raul
 Gonzalez, tax registry +g0+OSl, assigned to ESU Truck #2, along with Detective Christopher
 Zaberto,tax registry i+golAU, and Police offrcer Michael Green, tax registry #930265, assigned
to ESU Truck-Boy #2 and Detective Edwin Mateo, tax registry #917121, and Police Officer
Andrew Kress, tax registry #906592, assigned to ESU Truck Adarn #2, responded to the
location. Upon arrival,lhe ESU p.r.onnel established the ESU protocols regarding a barricaded
EDp. This included blocking the door peephole and securing the door from being opened by
persons inside the apartment. The doois peephole was then punched out to enable a possible
view into the apafimlnt. The ESU personnel established an entry stack with Offìcer Kress as the
lead bunker. Officer Kress was holding both a ballistic shield atd a X-26 Taser, drawn for
possible use. Detective Mateo was next in line with the Arwen (Anti Riot'Weapon) Model 37
Munitions Non-Lethal Launcher which deploys a 37 millimeter less lethal projectile. Officer
Green was next in line with the Y-Bar. Detective Zaberto was next with a water fire
extinguisher. Sergeant McConnack was at the end of the stack with the M-26 Taser prepared for
deplJlnnent. The door to the apartment was secured against opening from the inside, vtilizing a
,op" ii"a to the door knob anôthe opposite stair railing. Several attempts were made to make
coìtact with Mohamed and establish a dialogue. Mohamed was heard making noises on the
other side of the doorway. Detective Gonzalez remained on the first floor. Sergeant
McConnack requested the iesponse of a Hostage Negotiation Tearn (HNT) and the Technical
Assistance Response Unit (TARU). Lieutenant Gallitelli notified the Patrol Borough Manhattan
North Duty Captain, Captain Perry Natale of the barricaded EDP. The City North Manhattan
ESU Supervisoi, Lieutenant Michael Licitra, tax registry #906642, responded to the location to
assess und ,.rp.*ise the ESU personnel. After being infonned of the barricaded
                                                                                    situation by
Detective Gonzalez, LieutenaniLicitra directed Detective Gonzalez to utiiize a pole camera via
the fourth floor apartment below apartment
escape with intention of observing the 5th
covering the windows however prevented any
Teatn, supervised by Captain Jeffrey Hart, Ma
                                                                                                   cell
regarding her son. They then attempted to establish a dialogue by contacting Mohamed's
phãne. Íhe calls were not u.rr*"r"d and went straight to voicemail. An attempt to make an
ãbservation through the door peephole failed due to poor visibility in the darkened room.
Lieutenant Licítra then detennined that a parlial breaching of the apartment door was necessary
to deploy a pole camera over the top of the door frame to ascerlain the position of the
Ernotioná[y Disturbed person. There was no plan or intention to enter into the apartment to
engage trrtr. gah. The rope end tied to the stairway railing was freed with Sergeant McCormack
nñ iolding the end of rope tight to prevent the door from opening. The rabbet tool was placed
into the door frame and the door was partially opened to allow the pole carlera to be hoisted
above the door into the apartment. Thì carnera showed Mohamed, now wearing a
                                                                                           t-shirt and
shorts, standing in the         of the roorn still holding the knife in his right hand. Mohamed then
                         ".ri",
advanced towãrds the door and from the inside, grabbed the door and violently
                                                                                             pulled it
completely    open into the apartment. Mr. Bah was now in close proximity to the front door and
       ^brandishìng
 stilt              the knife, waving it around at officer Kress and the ESU personnel' officer
Kress advanced approxirnately two (2) feet into the apartment and while pointing theX-26
                                                                                                 Taser
 at Mohamed, ordéred hnn tó drop the knife. Mohamed lunged towards offrcer                 Kress   and

 slashed him with the knife several times in the chest area of the bunker vest causing
                                                                                          damage. In
response officer Kress deployed the X-26 Taser which was ineffective against Moharned.




                                                                                                DEF 16729
                                                                                                 Lethal
Detective Mateo then advanced and deployed the Arwen Model 37 Munitions Less
Launcher and discharged two (2) hard plastic less lethal rounds at Mr. Bah which
                                                                                             were also
                                                                    with  the  knife   striking  him in
ineffective. Mr. gah i=hen turned and lunged at Detective Mateo
the left shoulder causing blunt trauma. A struggle ensued involving Det. Kress,
                                                                                      Det. Mateo' and
                                                                                                  knife.
Mr. Bah, with Mr. Bahìunging wildly at both betective Mateo and Officer Kress with the
Sergeant McCormack then heard Detective Mateo yell, "He has a knife."
                                                                               Sergeant    McConnack
adiÃnced into the apartrnent and reaching over Detective   Mateo,  deployed   the  M-26 Taser at Mr'
                                                                                         ESU member
Bah. The taser was ineffective. LieutenantLicitrathen heard one (1) unidentified
state, ,.he,s stabbing me, shoot him." Detective Mateo, officer Kress and
                                                                                       ofhcer Green
                                                                                                  Mateo
discharged their servlce \^/eapons at Mr. Bah, striking Mr. Bah numerous times'
                                                                                     Detective
discharled five (5) rounds frorn his service                    , 9MM, Model 19. officer Kress
discharled three'(á) rounds from his service                    auer, 9MM, Model P226' Officer
Green ãischarged two (2) rounds from his                        a Glock, 9MM, Model 19' As a
                                                                                             a certified
result, Vohamed Bah was struck several times about the torso. Detective Zaberto,
paramedic, immediately rendered rnedical aid to the injured Mr. Bah.
^services
          personnel responded from the fourth (4th) floor and proceeded to
 gunshot wounds tie hãd sustained. Lieutenant Gallitelli notified Captai
involved shooting. Captain Natale requested a Level 1 Mobilization for crowd and
                                                                                                  traffrc
 control. Moharned Bahias removed toSt. ke's Roosevelt Hospital center               for  the treatment
 of his gunshot wounds. Lieutenant Licitra conducted a firearms check of the ESU personnel'
 Detective Mateo, Officer Kress and Officer Green informed Lieutenant Licifrathat
                                                                                         they had each
 discharged their firearms. An inspection of the three (3) hreanns confirmed
                                                                                             the recent
 discharles. Detective Mateo's fireann contained                                        in
                                                                              one  (1)     the  chamber
 and te;(10) in the magazine. Officer Kress' fire
                                                                            13) live rounds, one (1)
                                                                             contained fourteen (14)
 in the chamber and twáve (12) in themagazine.
                                                                                                 Galvin,
 live rounds, one (1) in the chamber and thirteen (13) in the magazine. Captain Matthew
 the Ernergency Services Unit Duty Captain responded to the scene                 inspected
                                                                            and                 Sergeant
                                                                                    recent discharge'
 McCormack,s and Detective Zaberto's ftre ms which did not reveal any
                                                                         New    York     Presbyterian -
 Detective Mateo, officer Kress and officer Green were felnoved to
                                                                                     trauma related to
 'weill cornell Medical center for treatment of tinnitus and non life threatening
 the knife attacks by Mr. Bah. At 2016 hours, Mohamed Bah was            pronounced        DoA by Dr'
Rolston.



LESS-LETHAL FORCE OPTIONS
                police Officer Kress deployed theX-26 Taser, serial #X00-537448, at the anned
subject at a distance ofthree (3) to seven (7) fe
                                                                                          contact

witir the subject the Taser pìoved ineffective'
                                                                                         etective
Mateo deployed the Arwen (Anti Riot Weap
                                                                                         auncher

which deploys a 37 millimeter less lethal proje
                                                                                         (1) less
lethal round at the armed subject. The investigation at this time is unable to detennine whether
                                                -                                   following its
the less lethal round actually
                                                                                     Less Lethal
deplolnnent. In quick succe
Munitions Launcher, Sergean
                                                                                    24206' at the




                                                                                                  DEF 16730
arrned subject at a distance of three (3) to seven (7) feet. Although the darts appeared to make
contact with the subject the Taser proved ineffective.


DISTRICT ATTORNEY

               Several conferrals were held with Assistant District Attorney Shannon Lucey and
it was determined that the Subject Members of the Service were fully cooperative with the New
Yor-k County District Attorney's Offìce and their actions were found to be justified by a grand
j.ny. On Mãnday, Decemb er 2, 2013 Assistant District Attorney Shannon Lucey stated that the
investigation conducted by her office was concluded and clearance was given to interview the
Subject Members of the Service'


MOS             TS

Name                 Rank         Shield         Tax #          Command            Tour
                                  r496           9r7r2l         ESS 2              1 5 1 5x2350
Edwin Mateo          Det.
                                  1 0841         906592         ESS 2              1 5 1 5x2350
Andrew Kress         P.O.
                                  3 108          930265         ESS 2              1 5 1 5x2350
Michael Green        P.O.

MOS S              STATE MENTS

                All mernber of the service subjects were formally interviewed under the
provisions of patrol Guide procedures 206-t3 and 203-08. Detective Kress and Detective Green
i"r" ,"p..sented by Michãel ly'rafünez. attorney for the Patrolmen's Benevolent Association.
Detective Mateo *á, ..pr"rented by James Moschella, attorney for the Detective's Endowment
Association, and Detectìve Frank Ciccone, Welfare Officer Brooklyn South. The interviews
were electronically recorded and are on file in the offrce of the Patrol Borough Manhattan North
Investigations Unit.

Detective Fl,rlwin Mateo. tax resistrv #91712 1. ESS 2

                Detective Mateo stated that on Tuesday, September 25,2012, he was assigned to
Ernergency Services Unit Truck #2 with Police Offrcer Kress as his partner in the "Adam" car'
During thã course of their third (3''d) platoon tour of duty, they were directed to respond to 113
Morningside Avenue, Aparlrnent #5D, regarding an Emotionally Disturbed Person. Upon their
anival, Det. Matro u.rã Officer Kress donned their gear and ESU protocols regarding a
barricaded EDp were established. While in the front vestibule of the building Det. Mateo and
other ESU personnel were encountered by Ms. Bah who informed thern that her son was in the
apartment naked, not acting like his usual self, and in possession of a knife. An entry stack was
asseqrbled at the top of thé stairway in front of the apafiment door. Det. Mateo, attired in his
ballistic helmet, his heavy vest, and in possession of an Arwen Model 37 Less Lethal Munitions
Launcher, was directly behind Officer Kress. Det. Mateo was followed by Officer Green and
Det. Zaberto, with sgí. vtcconnack to the left of Det. Mateo. A rope was tied to the door knob
and then attached toihe stair railing to ensure that the door would not be opened frorn inside
                                                                                                 of




                                                                                            DEF 16731
the apartrnent. Det. Mateo heard Mr. Bah reciting, from inside the apartrnent, what he perceived
to be some type of prayer while Offrcer Kress attempted to establish a dialogue with Mr. Bah'
However, oificer Kress received no direct response from Mr. Bah. In an attempt to establish a
visual of the apaftment's interior to ascertain the position of Mr. Bah, the peep hole was removed
frorn the apaftrnent door. Upon observing that the interior was unlit a "chem-light" was inserted
therein, however negligible visibility was attained. Other ESU personnel also made an atternpt
utilizing a pole           to establish a visual of the interior of the apartment, via the exterior
                    "*"tá
apartrnãnt windows located adjacent to the fire escape. However the windows were obscured by
black curtains thus yielding negative results. Lt. Licitra, now at the location, then detennined as
per ESU protocol tirat a .Àbb"t tool would be utilized to breach the door in order to insert the
pole
^Sgt. "urn"ìa
               into the apartment. The rope securing the door was untied from the stair railing with
      McCormack now holding the untied end of the rope, the door was pafüally breached with
th-e rabbet tool, and the pole carriera was inserted to ascertain the position of Mr. Bah. Lt.
Licitra, utilizing the pole camera, obtained a visual of Mr. Bah and relayed to the other ESU
personnel that Mr. Bah was behind the door with his left hand extended and his right hand
behind his back. lnmediately after, the apartrnent door was violently pulled open by Mr' Bah
from inside of the apartrnent. After Officer Kress advanced forward to the interior of the
apartment, followed by Det. Mateo, Mr. Bah raised his hand up and began slashing at Officer
Kress, ballistic shield with a large knife. Offrcer Kress moved to his left and then deployed his
X-26 Taser at Mr. Bah attaining rninirnal, if any, effect. Det. Mateo, approxirnately three (3) feet
away from and directly facing Mr. Bah, who was still in possession of the knife, discharged his
Arwen Model 37 Less Lethal Munitions Launcher two (2) times at Mr. Bah. The two (2)
discharged rounds frorn the Arwen Model 37 Less Lethal Munitions Launcher did not have any
effect on Mr. Bah who, while grunting incoherently, lunged towards Det. Mateo and slashed the
left side of Det. Mateo's rnedical pouch with the knife. Sgt. McCormack, who was now
positioned behind Det. Mateo, deployed his M-26 Taser over Det. Mateo's left shoulder, striking
Mr. Bah. However, the lead wires from the deployed M-26 Taser made contact with Det' Mateo
causing his body to "lock up" and he then fell backwards onto his left side. Det. Mateo, lying on
his left side while positioned in the doorway of the aparhnent, observed the apartment door
 swinging in his direction but knowing Officer Kress was still in the apartment, kicked the door
op.rrl Nrtt. guh again advanced towards Det. Mateo with the knife rnaking contact with Det.
Mateo's left arm. In fear for his life, Det. Mateo exclaimed "Shoot, shoot". Det' Mateo, still
 lying on his left side, with Mr. Bah above hirn, withdrew his firearm from its holster and using
his right hand frorn a one hand unsupported position discharged approxirnately five (5) rounds in
 an upïards angle towards Mr. Bah who was standing. Det. Mateo was unaware if any other
 fireanns were discharged. Mr. Bah fell to the floor and shortly thereafter Det. Mateo observed
  Det. Zaberto rendering aide to Mr. Bah while he conducted his own self assessment and the other
 involved ESU personnel checked themselves for injuries. EMT personnel then transported Mr.
 Bah to an awaiìing ambulance that was downstairs at the location. Det. Mateo was instructed to
 go downstairs and while sitting inside of an ambulance Lt. Licitra took possession of his fireann
 ãnd subsequently infonned him that he had discharged five (5) rounds. Det. Mateo was then
 removed to New york presbyterian - Weill Cornell Medical Center, where he was treated for
 tinnitus and remained overnight for elevated creatine levels. Det. Mateo stated that he was
 unsure if the rubber bullets discharged frorn his Arwen Model 37 Less Lethal Munitions
 Launcher had actually struck Mr, Bah. Det. Mateo additionally stated rhat at the time in which
 he discharged his firéarm, he felt Mr. Bah was trying to kill hirn with the knife, placing him in




                                                                                             DEF 16732
fear for his life. offrcer Mateo further stated other members of service were not in a
                                                                                               crossfire
position at the tirne of his fireanns discharge.

Police Officer Andrew Kress. tax resistrv #906592' ESS 2

                Detective Kress stated that on Tuesday, Septernber 25,2012, while performing his
duties at the rank of police officer, he was assigned to Emergency Services Unit Truck
                                                                                                #2 with
Detective Mateo as his partner in the "Adam" *r. ou.ing th" "o.rrre of their third
                                                                                         (3'd) platoon
tour of duty, they weie directed to respond to 113 Momingside Avenue, Apartment #5D,
                                                                                           Det. Mateo
regarding un E1noiionally Disturbed Person. Upon their arrival, ofhcer Kress and
                                                                                          As   the other
donned their gear and Bsu protocols regarding r barricaded EDP were established.
ESU perso.rnãl u.ri,r.d, an ãntry stack was assembled at the top of the stairway in
                                                                                           front of the
                                                                               lead  bunker    attired in
apartment door wherein Mr. Bair was located. Officer Kress, acting as the
                                                                                          and anX-26
his ballistic helmet and his heavy vest, possessed a ballistic shield in his left hand,
                                                                      Arwen   Model    37  Less Lethal
Taser in his right hand. Det. Mateo, *ho was in possession of      an
Munitions Launcher, was directly behind officer Kress. Det. Mateo was followed by Officer
Green and Det. Zaberto, with Sgi. McCormack to their rear. A rope was tied
                                                                                    to the door knob
and then attached to the stair railing to ensure that the door would not be opened
                                                                                       from inside of
the apartment. Det. Kress attempted several times to establish       a dialogue   with  Mr. Bah who
could be heard inside the apartmônt, but he received no response. In an attempt to establish
                                                                                                         a
                                                                                        peep hole was
visual of the interior of the ápartment, to ascedain the positioning of Mr. Bah, the
removed from the apartrnent door. Upon observing that the interior was unlit, a "chem-light"
                                                                                                     was
                                                                             personnel also made an
inserted there-in, ho*ev"r negligible visibility ruas attained. other ESU
atternpt utilizing a pole camera to establish a visual of the interior of the apartment,
                                                                                                 via the
                                                                                    was unsuccessful
exterior apartment *indo*, located adjacent to the fire escape. This attempt
                                                                                                 attempt
due to the windows being obstructed with curtains, dark in color. After an unsuccessful
by Officer Green to manually pick both apartment door locks, it w
rább"t tool would be utilized to breach the door in order to insert
 apartment. The rope securing the door was untied from the stair rail
now holding the untied end of the rope, the d
 the pole calrera was inserled to ascerlain th
 apartment door was violently pulled open by Mr' B
                                                                                                  that he
 Kress detennined that once the door opened, described as the "Fatal Funnel", knowing
                                                                                   per his  training,  he
 and the other ESU personnel were in such a confined / restricted area,    and  as

 had to move forward and enter the apartrnent in order to give the other
                                                                          personnel a chance to also
                                                                                              was to his
 move in behind hirn. Now inside the apartment, officer Kress noticed that Mr. Bah
                             knife in h              growling incoherently. After Mr. Bah did not
                            ders given               Kress to drop the knife, officer Kress, from
                            to four (4)              om Mr. Bah deployed his X-26 Taser' officer
                             darts frorn           ',edX-26 Taser struck
                                                                         Mr' Bah, however Mr' Bah
 then began making slashing motions with the knife, seemingly in an attempt
                                                                                      to cut the wires
 leading frorn the i-zo rur"i. officer Kress, at the tirne could not recall    if Mr.  Bah was attired
 in anyhing that may have prevented the X-26 Taser darts frorn making contact with him.
                                                                                                      Mr'
                                                                          in                  downward
 eah ónargãd at ofdcer Kréss and started thrusting the knife at him          an   overhand
 motion. Officer Kress was able to utilize his ballistic shield to push Mr. Bah away from him'
  Mr. Bah then charged at officer Mateo who was positioned slightly inside the doorway of
                                                                                                       the




                                                                                                   DEF 16733
                                                                                                exclaim,
apartment with officer Green. At this point officer Kress states he heard someone
.,^He's stabbing me". After the apaftrnent door appeared to close for a moment Mr. Bah
refocused his attack on Officer Kress, now thrusting the knife in an underhand upward
                                                                                                  motion
and striking the lower abdomen portion of Officer Kress' heavy vest' At the tirne, Officer
                                                                                                   Kress
states, he ¿i¿ not know if he or his vest was actually being struck because of
                                                                                   the amount of force
that Mr. Bah was utilizing. In fear of his life Officer Kress, now bladed slightly from
                                                                                                Mr. Bah,
dropped the X-26 Taser, ãr"* his firearm frorn its holster, and using his right hand frorn
                                                                                                    a one
hanã unsupported position discharged what he believed were two              (2)  rounds   in  a  forward
                                                                                                       his
direction towards the attacking Mr. Bah who was standing. When Officer Kress discharged
fireann he simultaneously trear¿ other gunshots but did not know who         was   firing their weapon.
With Mr. Bah now lying prone on the flãor of the apartment, Officer Kress along with other ESU
personnel, proceedeâ tã search the apartment for any other possible occupants. Shortly
                                                                                                     after
àetermining thut no members of service suffered any injuries, including his own self assessment,
                                                                                                    down
Off,rcer Krðss, along with EMT personnel who were transporting Mr. Bah on a stretcher
                                                                                           parked   at the
the stairs, then wení outside and sat down inside of the large ESU truck that was
location. While sitting inside of the truck, it was then that officer Kress realized his ballistic
vest was in fact slashèd in the lower abdomen area, and it was at this tirne Lt. Licitra took
possession ofhis fireann and subsequently                            had discharged three (3) rounds'
Officer Kress was then removed to New                                 Weill Cornell Medical Center'
where he was treated and released for tinnitus.                      ated that at the time in which he
 discharged his firearm he felt Mr. Bah was trying to kill him with the knife, placing
                                                                                             hirn in fear
                                                                                                 position
 for his life. Off,rcer Kress further stated other mernbers of service were not in a crossfire
 at the time of his firearms discharge, and at that mornent he did not know    if any   additional  forms
of less lethal options were deployed'

Police officer Michael Green. tax reeistrv #930265i ESS 2

                 Detective Green stated that on Tuesday, September 25,2012, while performing
his duties at the rank of police Officer, he was assigned to Emergency Services Unit Truck
                                                                                                        #2

with Detec tive Zaberto as his partner in the "Boy" car. During the ôo.rr.. of their third
                                                                                                     (3'd)

platoon tour of duty, they were directed to respond to 1 13 Mornin
iegarding an Emotionally Disturbed Person with a knife. Upon
Green wãs given a Y-bar, he and Det. Zaberto donned their gear
ãnn tsin) flãor of the location. An entry stack was assembled at the top of the stairway in front
of thò apartrnent door wherein Mr. Bah was located. officer Kress, acting as the lead bunker
was in possession of both a ballistic shieid and an X-26 Taser. Det' Mateo, who
                                                                                                   was in
possessiãn of an Arwen Model 37 Less Lethal Munitions Launcher, was behind ofhcer
                                                                                                   Kress,
^Offr..,.
          Green, in possession of the Y-bar, was directly behind Det. Mateo' Officer
                                                                                               Green was
followed by Det. |aberto,with sgt. Mccormack off to their           side.  A  rope was   tied to the door
                                                                                                     from
knob and then attached to the stair railing to ensure that the door would not be opened
                                                                                               inside the
inside of the apartment. officer Green heard Mr. Bah yelling incoherently from
 apartment while Officer Kress atternpted, to no avail, to establish a dialogue with
                                                                                          Mr. Bah. In an
                                                                                          location of Mr'
 aiternpt to establish a visual of the interior of the apartment, to asceftain the exact
Bah, the apafiment door's peep hole was removed. However, because of poor lighting,
n"gíigibl" vìsibility was attained. officer Green was then instructed by Lt. Licitra to pick the
                                                                                                  into the
 door locks in order to open the apartment door. This would be done not to gain entry




                                                                                                   DEF 16734
apartlnent but to allow a pole camera to be
visual of Mr. Bah. Offrcer Green was succe
was a deadbolt on the door that could only be n-r
hydraulic rabbet tool was then utilized to cre
frame allowing the pole caûlera to be inserted
rope \Mas still îied tå tne door knob while he deployed the rabbet
                                                                       tool, and that it was still tense'
                                                                                   After deploying the
However, he was unsure if the rope was still attached to the stair railing.
rabbet tool, officer Green returneà to his entry stack position behind
                                                                             Det. Mateo. Immediately
                                                                                    door was violently
  after avisual of Mr. Bah inside the apartrnent was established, the aparlment
                                                                                       "Drop the knife"
pulled open from the inside. officer Kress was then heard yelling several tirnes
ãnd subiequently the "clicking" noise of a depl
Green's left ear. Officer Green recalled that at t
him and to his left. Det' Mateo, who was electri
backwards and on top of Offrcer Green causing
                                                                               his possession. officer
Green then fell backwards into the hallway unã dtopprd the Y-bar from
Green then observed the apartment door ciosing, However, Det.
                                                                       Mateo then rose to his feet and
re-entered the apartrnent followed by officer Gìeen. officer Green, now
                                                                                appfoximately one (1)
 foot inside the aparlment, observed Mr. Bah jabbingalarge stainless steel
                                                                                    knife in a forward
                                                                        Officer KÍess   was holding the
thrusting motion into officer Kress' lower abdornen area while
ballistic shield upwards in his left hand. Officer Green observed Officer Kress stepping
 backwards , away frorn Mr. Bah, while Mr. Bah continued to stab
                                                                         Officer Kress. Offrcer Green
 then drew                       its holster and using his right hand from a one hand unsupporled
 position di                    rounds in a forward direction towards Mr. Bah who was standing'
 Officer Gr                     ly heard "popping noises similar to fireworks" but was unsure if
                                                     gan then fell to the ground and sgt. Mccormack
 another Mos had dischargedih.i, frr.utto.^ H4i.
 directed the ESU p"rro*.l to conduct a search of the apartment'
                                                                          After doing so, Det' zaberto
                                                                                          by Emergency
 imrnediately began to render aide to Mr. Bah, who was subsequently transported
Medical     personnel, via a stretcher, downstairs to an awaiting ambulance. Shortly after assuring
that no Members of the Service suffered any inj
Green walked downstairs and sat down inside
location. While sitting inside of the truck, C
infonned him that he had discharged two (2) r
york presbyterian - Weill Cornell Medicál Center, where he was treated and released for
                                                                                  during their
tinnitus. officer Green was unsure if officer Kress had discharged his x-26 Taser
encounter with Mr. Bah but did observe an undetermined number
                                                                  of darts from a Taser in the
bodyeDet.Zabertowasrenderingaide.officerG i
disch                       saw Officer Kress getting stabbed and was
life.                       stated at the tirne of his fireanns discharge o
were not in a crossfire position , and atthat moment he did not
                                                                    know if any additional forms of
 less lethal options were deployed.




                                                                                                  DEF 16735
MOS WITNESSES

                                   Shield         Tax #          Command            Tour
Name                   Rank
                                  N/A             928343         26th Pct.          1445x2330
Robert Gallitelli      Lt.
                                  N/A             906642         ESU                1400x2235
Michael Licitra        Lt.
                                                  91 93 83       ESS 2              1 503x2400
Joseph McCormack    Sgt.           4353
                                                                 ESS 2              1 5 1 5x2350
Christopher Zabefto Det.           6414           907614
                                   i 1683         949693         26rhPct.            1   500x233 5
Brian Stanton       P.O.
                                   30635          942819         26th Pct.           1 500x2335
Esrneralda Santana     P.O.
                                                  948055         z6ih Pct.           1 500x233 5
Vincent Johnson        P.O.        8537


MOS WITNESS STATEMENTS
                                                                            under the provisions
               Member of the service witnesses were formally interrliewed
                                                                                   Gallitelli were
of patror Guide procedures 206-13 and 203-0g. Lieutenants Licitra andthe Lieutenant's
represented by Lieutenant Thomas O'Neill,
Benevolent Association. Sergeant Joseph M
                                                                                Sergeant Joseph
                                  the Sergeant's Bel .                          ctive Christopher
Quinn, Transit Bureau Directoiof                           ,,   r a,-   n^!^^+:
 zaberto was represented by Detective Thomas Driscoll
                                                               of the Detective's Endowment
                                                                   represented by Police Officer
Association. police Officers Johnson, Santana, and Stanton, were
                                                                         North Trustee' Their
Desmond stafford, Patrolman',s Benevolent Association Manhattan
statements were eråctronicaily recorded and are kept on
                                                         file at the Patrol Borough Manhattan
                                                              basis of the narrative in paragraph
North Investigations unit. These statements helped fonn the
#4.

             Ro                                                  ctn
Lieu
                                                                                          perfonning a
                on Tuesday, Septemb er 25,2012, Lieutenant Robert Gallitelli      was
                                                                             police
                                        precinct platoon commander, with            officer vincent
  r445x2330 torrr, u.rljn.ã'ár1rr" z6th
                                                                     They  were  both  attired in the
 Johnson designated as his operator in marked F:}/IP #5622.
 uniform of the day. During the t                         li and his vehicle operator responded to a
 radio signal of a ro-54EDp at 1                          e. They arrived simultaneously with 26th
 precinct sector Adam (police                             police officer Stanton). Lt. Gallitelli
 observed six (6) individuals at the location,
 mother. She stated that her son, who was in
 psychiatric history, was unalïned and lived alo
 lntcked on the door and Mr. Bah partially
 unintelligible and incoherent utterances' Offir
 conversation with Mr. Bah and then suddenly stepped
                                                          back away from the door' Mr' Bah
                                                         infonned by p,o. Stanton that Mr. Bah
 slammed the door shut and rocked it. Lt. Galritelli was
                                                  imrnediately established fireanns control and
                                                 o informed Central that Mr' Bah was barricaded
                                                      y before ESU and was instructed to rernain on
                                                       while ESU attempted to establish a dialogue




                                                                                                DEF 16736
with Mr. Bah, Upon their arrival, ESU personnel directed that all unnecessary personnel leave
                                                                                      Technical
tt Sln loor landing. As ESU was setting up, the Hostage Negotiating Team and the
  "
Assistance Response Unit arrived. offrcer Sãntana remained on the 5th floor and officer  Stanton
                                                                                       to secure
was stationed at the apartment directly below #5D. An additional sector was requested
                                                 as not in a position where  he could  hear any
                                                d not observe ESU breach the door or enter the
                                                Tasers being deployed and subsequently heard
                                                ick succession after a small pause. He did not
personally observe anyone discharge their firearm and he could not hear any commands being
girr"r, by ESU personnel, but heard inaudible screaming. Lt. Gallitelli then directed EMS to
render medical attention to Mr. Bah.




                 On Tuesday Septernb er 25,2012 Lieutenant Michael Licitra #906642, performed
a I400x2235 tour of duty, assigned as the ESU Emergency Service City North Supervisor'
During his tour he responáed to 113 Momingside Avenue regarding a request for ESU
                                                                                           that was
                                                                                             which
originãlly transmittedïy the 26th precinct Platoon commander over division radio and
                                                                                           made in
was retransrnitted over special operations division radio. The original request was
regards to a barricaded Bbp on tñe fifth 15th¡ floor of the aforementioned address.
                                                                                        The request
for Lt. Licitra's response was transmitted over SOD radio. There was no mention of Mr' Bah
being anned with a knife during the initial
Avenue, Lt. Licitra was met and debriefe
debriefing that Lt. Licitrawas told that the f,rrst
Mr. Bah in possession of a knife. Lt. Licitra p
entered the location rnaking his way to the fifth
Lt. Licitra met with Sgt. McConnack, Offltc
                                                                                              heavy
 Zaberto. All four (4) pãrsonnel on scene were already attired with their tactical helmets,
                                                                                   the  lead bunker
vests and equipped áccording to ESU protocols. officer Kress was designated
                                                          Mateo  was armed   with  a Arwen Model
and anned with an X-26 Taser drawn in his hand.      Det.
37 Less Lethal Munitions Launcher. officer Green and Det. Zaberto had other equipment
including equipment used to breach a door. S
The door had already been roped off according
the fifth (5th) floor. The peep hole had also bee
 intelligence from the apartment' Chemical li
provide additional lighting, but were unsucce
  zaberto went one (tinooi uelow in an attempt to gain visual intelligence
                                                                             through the three (3)
                                                                                 the windows were
 exterior windows utilizing a pole carnera. The results were negative because
 obstructed by blinds or other covering. Lt, Licitrathen returnéd to th" fifth
                                                                                (515  floor and was
                                                                                        McCormlck
 informed that Mr. Bah was no longer communicating with on scene personnel. Sgt.
 then proceeded to untie the door so that the door could be breached by utilization
                                                                                         of a rabbet
 tool. The door was breached solely to stick the pool camera through the door, not for entry by
                                                                               personnel to see an
 ESU personnel. The pole camera, which does not record, allowed the ESU
                                                                                        the Hostage
 imagé of Mr. Bah in the center of the aparínent. Sgt. McCormack did request
 Negotiation Team which was in the process of gathering infonnation from        Mr.  Bah's   mother'
 The Hostage Negotiation Team which had previ,ously unsuccessfully attempted
                                                                                     to contact Mr'




                                                                                             DEF 16737
                                                                                          gain verbal
Bah via telephone made no additional atternpts at that time. While another atteffrpt to
comrnunication with Mr. Bah was being made by rnembers           of  the  ESU   team which   also met
negative results, Mr. Bah grabbed the door in an attempt to open it. After a brief struggle,
                                                                                                   Mr'
BÃ successfully opened the door. Mr. Bah was then given verbal commands by officer Kress
                                                                                                    his
to drop the kniie. Mr, Bah did not cornply with the commands and officer Kress deployed
X-26 Taser with negative   results. Nrtr. gãh then attacked Officer Kress in a violent matter with a
                    -Aft"r
large chef s knife.        Det. Mateo fired a round from his less lethal munitions launcher with
nelative results, Mr. Bah then proceeded to direct his attack towards Det. Mateo. Sgf.
MãConnack, who was behind Det. Mateo, reached over Det. Mateo and fired his M-26
                                                                                                 Taser
with negative results. Mr, Bah continued his attack alternating between Officer Kress and
                                                                                                   Det.
Mateo when an unidentified officer yelled "he's stabbing me, shoot           hirn". At  that titne,  an

estimated eight (g) to ten (10) rounds were fired by different ESU personnel.
                                                                                           when the
discharge ceásed, í)et, zaberto, who is a tactical paramedic,     began   to render aide to  Mr. Bah'
EMS sribsequently arrived at the fifth (5th) floor to render aide to Mr. Bah. Lt. Licitra went
                                                                                                  back
downstairs out of the apartment and conducted a firearms inspection to verify
                                                                                         which ESU
                                                                                               (armed
personnel discharged their weapon. The results of the inspection showed that Det. Mateo
*ltt u Glock, 9MM, rnodel il¡ nuA 11 rounds in his firearm, 1 in the chamber, 10 in              in
                                                                                                    the
                                                                                                    his
  magazine. Officer Kiess (armed with a Sig Sauer, 9MM, model P226) had
                                                                                    13 rounds
fireã.m, I in the chamber, iz in the nagaziie. officer Green (armed with a Glock, 9MM ,model
 19) haá 14 rounds in his frrearm, t in the chamber, 13 in the magazine' Lt. Licitra
                                                                                               did not
                                                                                                   with
 inspect any other fireanns. All remaining weapons were inspected by Captain Galvin
                                                                                                  knife
 negative résults. Lt. Licitra did observe ã cut on the uniform shirt of Det'        Mateo  and
                                                                                       weapons were
 slashes on offìcer Kress' vest. The three (3) ESU personnel who fìred their
                                                                                       (1) Taser dart
 transported to New york presbyterian - weill cornell Medical center           and one
                                                                                                      in
 *u, ãbr"*ed lodged in Mr. Bah's chest area. Lt. Licitra described Mr. Bah as a male Blackand
 his late 20,s to early 30's, approximately 6'tall, weighing i80      lbs', wearing awhite   shirt
 black pants.

serseant Joseph Mccormack, tax reeistrv #919383, ESU. Truck #2

                 Sergeant Joseph McCormack performed a 1503x2400 tour of duty, assigned
                                                                                                 as

the Truck #2 supårvisor in Truck #5511, with Detective Gonzalez' Sgt. McCormack
                                                                                               was

requested over SoD division radio to respond to 113 Morningside Avenue in
                                                                                       regards to a

barricaded EDp. Upon anival, Sgt. McCormack met with Officer Kress and
                                                                                        Det. Mateo
                 Adam^car. Sgt. McCormack, along with Officer Kress and Det._M-{"9:.tuit"d^}H
                 t and helmets and entered the building. He then met with Lt. Gallitelli, the 26"'
                 n Corrmander, on the fourth (4th) floor of the lo                  to confer about
what had transpired. Sgt. McCormack was informed by Lt.        Ga                   ad an EDP with
a knife. ShortÎy thereafter, the ESU Boy car arrived with Det.
                                                                                    cer Green. The
entry stack             of officer Kress with the lead bunker and taser, Det. Mateo with the Arwen
Model 37 Less "on.i.t"d
                   Lethal Munitions Launcher, Officer Green and Det. Zaberto side by side with
 Sgt. McCormack. They atternpted to mak
but Mr. Bah was speaking incoherently.
while the end was held by Sgt. McCormack'
 chernical light sticks in the apartment since it w
requested ihe Hostage Negàtiation Team and the Technical Assistance Response
                                                                                          Unit. Lt.



                                                                                                  DEF 16738
Licitra, ESU, ar:rived on scene. Sgt. McCormack directed the patrol units to the apartment
                                                                                                    to the
directly beneath Mr. Bah's aparhnent to see the floor plan. The pole catnera was requested
i""rrÀi+,"1 floor apartment. Lt. Licitra attempted to see into the flfth (5'n) floor windows but
                                                                                                       was
met wiih negativJresults. The fifth (5th) floor windows were completely blacked            out.  With    no
visual into the apartrnent, the door was breached enough to create a small void
                                                                                     in order to utilize
the pole             Sgt. lticComack loosened the rope frorn the door in order for the breach to
          "ur,-'.ru.
occur but continu"jto hold it firmly. The irnage on the camera receiver was
                                                                                          very dark and
sketchy. As they were viewing the receiver Mr. Bah violently thrust       the  door  open   with a knife
in his hand. Mr. Bah's violen-t pull of the door caused Sgt. McCormack to lose control of
                                                                                                        the

rope. Officer Kress discharged his X-26 Taser with negative              results.    Det.   Mateo     then
                                                                           (1) time and was also met
discharged the Arwen Model 37 Less Lethal Munitions Launcher one
                                                                                      got a knife, he's
with nelative results. Sgt. McConnack heard one of his officers state "He's
stabbing me, shoot hirn." Sgt. McConnack could not see if Mr. Bah was
                                                                                actually armed but his
                                                                                             identified a
body movement suggested tlat he was fighting with the officers. Sgt. McConnack
                                                                                       trigger  to his M-
.rouil target, placed-t[e dot on the upper tõrso of a white shirt and depressed the
                                                                                                      their
26 Taser. This also produced n"guiirr" results. At that point three (3) officers discharged
firearms and struck Mr. Bah seveial times. The shots were fired rapidly and in
                                                                                      quick   succession
                                                                                         barbs from the
after the Tasers and less lethal device was utilized. Sgt. McCormack observed
                                                                                        not know which
Taser in Mr. Bah's neck and chest area, the barb in the chest dislodged. He
                                                                                  does
                                                                                            Ktess' Taser
barbs carne from which Taser. Sgt. McCormack verified that his Taser and Offrcer
 were tested prior to use as per protocol.

        ve Chris          Zaberto.        resistrv       614. ESU Truck 2


                Detective ChristopherZabeftoTax#907614 Shield #6414 assigned to ESU
                                                                                              Truck
         Car in RMp #5591, with police officer Michael Green, performed a 15I5x2350
                                                                                              tour of
2, Boy-Det.
duty.        zabertowas directed by SoD radio to respond to 113 Morningside Avenue regarding
an EDp. The initial job came over as an EDP, then as a barricaded EDP
                                                                           with a knife. Upon their
                                                                                    the scene' Det'
arrival they were u¡äre¿ by Det. Gonzalez, of ESU Truck 2, who was already on
 Zaberto met with u *orrrun who identified herself as Mr. Bah's mother
                                                                            who stated that her son
does not have any rnedical history, but has bee
partner both entered into the building with
floor of the location. They then met with E
Ofhcer Kress had the ballistic bunker shield ag
                                                                                      observed Det'
the peep hole, and tried to initiate verbal contact with Mr. Bah. Det. Zaberto
                                                                                      is a less lethal
Matào équipped with an Arwen Model 37 Less Lethal Munitions Launcher which
                                                                              rope with one end tied
weapon itrai pro¡ects rubber ballistic bullets. Det. Zaberto also observed a
around the door knob and the other end tied around a banister to prevent
                                                                              Mr. Bah from opening
the apartrnent door. The ESU teaur merrbers were waiting           for intelligence  that was being
                          on the scene in order to plan their next move. The peep hole to the
                          dy been rerroved and blocked with the ballistic bunker shield by Officer
                          Mr. Bah's view through the peep hole. A chernical light was deployed
                                                                                                  Det'
into the peep hole so that ESU can see into the apartment but it had proved unsuccessful'
 Zaberto was in control of the rabbet tool and did not breach the door
                                                                         at that time.  Det.  zaberto
was able to gain access to the apartment directly below      Mr.  Bah's  and   went through the fire
                                                                              the apartment window
 escape to deploy the pole camera but was unable to see anlhing because




                                                                                                    DEF 16739
                                                                 a crack in the door where the
shades were drawn. The pole cafiìera was then deployed through
                                                                                   the camera
rabbet tool had been used to pry it open. Lt. Lici,rlla from ESU was lnaneuvering
                                                              proved unsuccessful because Mr'
around while Det. Zaberto *u, viewing the rnonitor. This also
Bah moved the camera prohibiting BSU from seeing anything inside of the
                                                                                   apartment' The
                                                                 to his position on the entry team'
monitor was given to Lt. Licitra and Der. zabefto retumed back
                                                                                    apartment with
The door of the aparínent then flew open and officer Kress entered into the
                                                                                        to drop the
ballistic bunker shield and raser in hanì. Det, zaberto heard repeated cotnmands
                                                                                  McCormack then
knife and observed officer Kress deploy the Taser with negative results. Sgt'
                                                                    make o
deployed his Taser with negative results. Del. Zaberto could not
¡z ress Lethal Munitions Launcher was deployed' At that point Mr. Bah
                                                                         up,
to drop the knife but was non-compliant. officer Kfess, while backing
Mr. Bah started stabbing at officãr Kress under his bunkergrnrnwith the knife he had in his hand'
officer Kress dischargeã'more than one (1) round from his           Sig Sauer firearm and officer
                                                                                 frorn the shooting
Green also discharg"ã hi. gmrn Glock 1Ò. Mr. Bah suffered bullet wounds
and fell to the floor. At that time Det. Zaberto checked with Det. Mateo,
                                                                                officer Green, and
                                                                                reporled they were
Offrcer Kress to see if anyone was stabbed with negative results, overyone
                                                  saw that he was still alive and conscious but
                                                   was lying on the floor about one (1) foot from
                                                  Det. Zaberto observed two barbs lodged in Mr'
                                                  left torso area. Det. Zaberto and EMS, akeady
              rendered advance care to Mr. Bah and retnoved hirn to Saint Lukes
                                                                                    Hospital'
on the scene,

                       S        tax          #94        26tt'

               police Officer Brian Stanton performed a 1500x2335 tour of duty, assigned to26rh
precinct sector Adam, with his partner Polìce Officer Esmeralda Santana, in RMP #3344' At
approximately 1843 hours they responded to
Mómingside Avenue' Offrcer Stanton and his
along w]th Lieutenant Gallitelli, the 26th Pteci
Johnson. Upon arcival, Officer Stanton was app
Mr. Bah's family members' One wornan who
                                                                         not possess any weapons'
son had been acting irrational all day but was not violent and did
                                                                             Johnson then began to
Offrcer Stanton, Ofãcer Santana, Lt. Gallitelli and his operator, Officer
ascend the stairs to apartment #io. officer Stanton knocked
                                                                   on the dool and the door swung
                                                                                      bladed to-him'
partially open. officer stanton observed Mr. Bah completely naked with his body
Officer Stanton began a dialog with Mr. Bah in an attempt to assess the situation'
                                                                                             Officer
                                               g to put on. Mr. Bah replied incoherently   "not  me,
                                               ã ¿oó. on the officels. At that point Mr' Bah turned
                                             rife in his right hand pointed outward' The knife was
                                                                        attempted to stop hiÍr from
as large as a butcher's knife. officer stanton and officer Santana
                                                                         his partner back' The door
closing the door but officer stanton pulled back his foot and pushed
                                                                           that Mr' Bah possessed a
then slamrned and was locked. officer Stanton then advised everyone
large knife. Lt. Gallitelli called for ESU via division radio.
rorrit..ing what appeared to be a prayer. Upon ESU's aniva
an attempt to secure the keys lor the roof from the building'
not re-enìer the buiiding. While in front of the location, the




                                                                                             DEF 16740
gun shots. At that point, Officer Stanton assisted in establishing the outer perimeter
                                                                                            of the crime
scene.

Police Officer               Santana. tax resistrv # g42glg.26tt' Precinct

                police Officer Esmeralda Santana performed a 1500x2335 tour duty assigned to
26th precinct sector Adarr with her partner Police officer Brian stanton,
                                                                                in RMP #3344' At
approxirnately 1843 hours they responded to a radio
                                                                                             10-54 EDP
located at 1 13 Momingside Avenuá. Officer Santan
                                                                                            scene at the

same time as Lieutenant Gallitelli and his ope:ator,
                                                                                            the location
Officer Santana was met by an individual who identified herself as the caller and
                                                                                                  further
                                                                  The   female  did  not   indicate   that
informed ofhcer Santana that her son was acting irrationally.
her son was amed. officer Santana began ur""ndittg the stairs to apartrnent
                                                                                   #5D with      officer
stanton in the lead, followed by officer Johnson, then  herself and  Lt.  Gallitelli.  officer santana
                                                                                   had a partial view
could not see the male inside of the apartment but when the door opened she
                                                                                                        in
of him and observed that he was naked. Officer Stanton attempted to engage the male
                                                                              emotionally     disturbed'
conversation, and the male's statements lead her to conclude that he was
                                                             attempted    to use  her foot to prevent
The male attempted to close the door and Officer    Santana
                                                                              male    had a knife, she
him from doing so, however upon hearing officer Stanton state that the
rernoved her foot irom the door, allowing it to close. Lt. Gallitelli
                                                                         immediately requested thal
                                                                                    that Mr' Bah had
 the Emergency Services Unit respond to ìire location, informing the dispatcher
                                                                 (5th) floor landing, but was at the
 a knife. when ESU arrived, officer santana as on the fifth
 opposite end of the hall. She observed members of ESU tie the d
 it, and observed them attempt to engage Mr. Bah in conversation
 observed ESU use a hydraulic machine to breach the door. she
 ensue and a Taser being deployed. After the deployment of the Taser
                                                                                she heard numerous
 gunshots in quick succession.
                                                                  tl'Precinct
Police Officer Vin       t.Iohnson.       resistrv #94 8055. 26

               Police Officer Vincent Johnson performed a                       Y assigned as
Lieutenant Gallitelli's operator in RMP #5622. During their
                                                                                radio run of a
10-54 EDP at 113 Morningside Avenue. upon arriving at th
                                                                                 Sector Adam,
Police Officer Santana and Police Ofhcer Stanton, who had arrived at the location
                                                                                            at
                                                                               (who was later
approxirnately the same time. Upon their arrival they were met by a women
identified as Hawa Bah DoB sl24llg58) who claimed to be the mother of
                                                                               Mr. Bah (later
identified as Mohamrned Bah DoB glzïtíozz¡. She stated that her son
                                                                       was upstairs alon9 a1d
                                                                         could use their help'
acting erratic, but that he was not violent. She further stated that she
officer Johnson entered 113 Morningside Avenue along with Lt. Gallitelli, officer Santana,
                                                                                           and
                                             nteri                                to aPartment

                                                    ::",
 Mr. Bah if he could put on some clothes and if he needed any assistance. At that
                                                                                             il,iglifJ;
                                                                                      point officer
 Johnson heard Mr. Bah mumble sornething to the effect of "not me,
                                                                            it wasn't me"' Officer
 Stanton had his foot in the front door frame ãtternpting to prevent Mr.
                                                                         Bah from closing the door'
 Suddenly, Officer Stanton quickly removed his fóot from the door
                                                                      frame and backed away frorn




                                                                                                   DEF 16741
                                                                       backed up to a safe distance
the door sirnultaneously stating "he has a knife". All of the officers
and told Lt. Gallitelli that Mr. Bah had a knife. upon hearing that
                                                                         infonnation, Lt. Gallitelli
                                                                        respond to the location for
called Central to notify Emergency Service Unit, anã to have thern
assistance. Soon after i¡" dooi*as closed, Officer Johnson
                                                              heard Mr' Bah apparently praying to
God. Approximately five (5) to ten (10) m
Sergeant and two (2) Officers' The ESU m
loose end to the adjacent stair rail banister'
assigned to a post outside of the building to se
one of the ESU trucks told him to bring a cam
Upon receiving the camera, he headed up to th
fróm ESU and was assigned to secure the apafi
fourth (4th) floor. While in the apartment he gr
                                                                                          he heard
did not attempt to escape by uìing the firã escape. officer Johnson stated that
 approximately five (5) quick shots come frorn upstairs'


CIVILIAN \ilITNESS - INTERVIEWS
                                                                                   members of
              Interviews with civilian witnesses to the incident were conducted by
the Detective Bureau and were recorded on Complaint-of
                                                          Follow-Up Informationals (DD5's)' A
canvass of the area was conducted by membetr           th. Detective Bureau and internal Affairs
                                                                                 the narrative in
Bureau. The aggregate content of tle interviews helped form the basis of
paragraph#4,

                                                                                 stated that she
Civilian Witness #L. a female, black, ear-witness, known to the Department,
                                                                             was a nice guy and
heard banging on    a door upstairs und ihen gunshots. The witness stated he
would help her with groceries/packages'

                                      ispanic, ear-witness, known to this Department, stated she
                                      shots aiwhich point she ran to the rear of her apartment. The
                                       aided and has lived in the building for five (5) years'


 Civilian Witness #3. a male, black, ear witn
 ,rtilir"d his fire escape to try and view the aide
 down. The witness further stated that UMOS
 one answered. The witness heard a door open,
 doesn't like the police but feels they did everything they could'
                                                                                   stated she heard a
 Civilian Witness #4. a female, black, ear witness, known to this Department,
 series of gunshot.. th. witness does not know    t   e aided and only spoke to him in passing'

                                                                                      he just heard a
 civilian witness #5. a male, black, ear witness, known to this Department, stated
 l"t *-*"t.n and just knew the aided as a neighbor'
    "f




                                                                                              DEF 16742
Civilian  itness #6. a female, black, ear witness, known to this Deparlment, stated she heard a
lot of commotion. According to the witness, the aided was a nice guy and didn't bother
anybody.

CIVILIAN SUBJECTS

Moharned Bah                   113 Momingside Avenue #5D            DOB: 09128183
                               Manhattan, NY                        NYSID: 00340662H

CIVILIAN S IIR.IB,CT - INT RVIEW

               Mr. Moharned Bah succumbed to his injuries and was pronounced dead at2016
hours, and therefore was not interviewed.


SUBJECT'S HISTORY

                A Real Tirne Crime Center search of Mr. Mohamed Bah did not produce a
crirninal history. One (1) non-crirninal NYSID # 00340662H was listed for a New York
                                                                                              City
Taxi and Limousine Còmmission application and a New York Department of State-Licensing
Division application. He has ,"u..al vehicle traffrc infractions noted regarding vehicle accidents
and moving-violations. There are no previous aided events on file for Mr. Bah.



DIS CREPANCIES AND CLARIFICATIONS

             At the date and time of incident Detective Andrew Kress and Detective Michael
                                                                                 currently hold the
Green were perfonning their official duties at the rank of Police off,rcer. They
rank of Detective.


SUBJECT M.O.S. INFORMATION

                                        Detective Edwin Mateo

                           Shield #:                         1496
                             Tax #:                          9r7127
                 Appointed NYPD:                             July 18, 1996
                Assigned to ESS 2:                           Júy 29,2005
            Duty & Uniform Status:                           On Duty, in uniform
               Physical Conditions:                          The lighting conditions were good
              Personal Information:                          Male/Hispanic, 43 years old,
                                                             Right-handed.
           Firearms Re-qualifi cation
                                    :                        Cycle #13-01, attended 0312912013
             Tactics Review Session:                         March 29,2073
           2 Day Advanced Tactical:                          Yes




                                                                                             DEF 16743
         OC Spray Equipped:                             Yes
           Previous Shootings:                          No
       Body Annor EquiPPed:                             Yes
      Disciplinary Monitoring:                          None

o Detective Mateo was armed with his on-duty service weapon, Glock, 9mm, model
  #GLclg,serial #PHV405. This weapon holds a maxirnurn of sixteen (16) rounds.
¡ At the time of the discharge, Detective Mateo had no other firearms in his possession'
o The firearm was found to contain ten (10) iive rounds in the magazine and one (1) live
    round in the chamber.
o Detective Mateo discharged five (5) rounds from his weapon, one-hand unsupported.
o At the time of the fireanns discharge, the distance between Detective Mateo and the
    subject was within close proximity'
.   The lighting conditions in the apartment were good (supplied from hallway aftet
    apafiment door was oPened).
o   The Firearms Analysis Section examined Detective Mateo's fireann. The firearm is
    functioning within normal parameters. A copy of the report is attached for reference.
o   Copies of Detective Mateo's Central Personnel Index and Departmental Recognition
    Record are attached.
o   Detective Mateo did indicate, by initials, his position on a sketch made of the location. A
    copy of the sketch is attached to this report.
o   Detective Mateo prepared a Fireanns Discharge/Assault Report. A copy of the report is
    attached for reference'

                                   Detective Andrew Kress

                      Shield #:                          7663
                        Tax #:                           906592
            Appointed NYPD:                              February 28,1994
           Assigned to ESS 2:                            June 2,2011
       Duty & Uniform Status:                            On Duty, in unifonn
          Physical Conditions:                           The lighting conditions were good
         Personal Infonnation:                           Male/White, 45 years old,
                                                         Right-handed.
     Firearms Re-qualifi cation:                         Cycle #13-02, attended I0lIll20I3
       Tactics Review Session:                           March 29,2073
     2 Day Advanced Tactical:                            Yes
          OC Spray EquiPPed:                             Yes
            Previous Shootings:                          No
        Body Annor EquipPed:                             Yes
      Disciplinary Monitoring:                           None

a   Detective Kress was anned with his on-duty service weapon, Sig Sauer, 9mm, model
    #p226,serial #u501251. This weapon holds a maxirtum of sixteen (16) rounds.
a   At the time of the discharge, Detective Kress had no other firearms in his possession.




                                                                                         DEF 16744
.   The firearm was found to contain twelve (12) live rounds in the magazine and one (1)
    live round in the chamber.
¡   Detective Kress discharged three (3) rounds from his weapon, one-hand unsupported.
o   At the tirne of the firearms discharge, the distance between Detective Kress and the
    subject was within close proxirnity'
.   The lighting conditions in the apartment were good (supplied frorn hallway aftet
    aparlment door was oPened)'
o   The Firearms Analysis Section examined Detective Ktess' firearm. The firearm is
    functioning within normal parameters. A copy of the report is attached for reference.
o   Copies of Detective Kress' Central Personnel Index and Departmental Recognition
    Record are attached.
o   Detective Kress did indicate, by initials, his position on a sketch made of the location. A
    copy of the sketch is attached to this reporl.
o   Detective Kress prepared a Firearms Discharge/Assault Report. A copy of the report is
    attached for reference.

                                   Detective Michael Green

                       Shield #:                         7649
                       Tax#:                             930265
            Appointed NYPD:                              July 1, 2002
           Assigned to ESS 2:                            June 2,2017
       Duty & Uniform Status:                            On Duty, in uniform
           Physical Conditions:                          The lighting conditions were good
          Personal Information:                          Male/White, 34 years old,
                                                         Right-handed.
     Firearms Re-qualification :                         Cycle #13-02, attended 1011412013
       Tactics Review Session:                           Scheduled to attend 1212012013
     2 Day Advanced T actical;                           Yes
          OC Spray Equipped:                             Yes
            Previous Shootings:                          No
        Body Armor EquiPPed:                             Yes
       Disciplinary Monitoring:                          None

o Detective Green was armed with his on-duty service weapon, Glock, 9mm, model
  #GLClg, serial #DWW887. This weapon holds a maximum of sixteen (16) rounds.
o At the tirne of the discharge, Detective Green had no other firearms in his possession.
o The fireann was found to contain thirteen (13) live rounds in the magazine and one (1)
  live round in the chamber.
o Detective Green discharged two (2) rounds from his weapon, one-hand unsupported.
o At the tirne of the firearms discharge, the distance between Detective Mateo and the
  subject was within close proximity.
o The lighting conditions in the apartment were good (supplied from hallway after
    apartment door was oPened).
o The Firearms Rnalysis Section examined Detective Gteen's firearm' The fireann is
    functioning within normal parameters. A copy of the report is attached for reference.




                                                                                         DEF 16745
   a   Copies of Detective Green's Central Personnel Index and Departmental Recognition
       Record are attached.
   a   Detective Green did indicate, by initials, his position on a sketch made of the location. A
       copy of the sketch is attached to this report.
   o   Detective Mateo prepared a Firearms Discharge/Assault Report. A copy of the report is
       attached for reference.



PHYSICAL EVIDENCE

              Detective Gilford, Crirne Scene Unit, responded and processed the following
items under Crime Scene Run #12-756:

   1) Photographs ofthe scene
   2) Diagram of the scene
   3) Service weapons (3)
   4) Physical Evidence:
              A.        Ten (10) Discharged Shell Casings
              B.        One (1) Fired Bullet
              C.        One (1)
                             '(í)Largeknife approximately
                                             -9mm,          10" in length
              D.        One       Sig Sauer,          seni-autornatic pistol, model #P226, serial
                        #us01251
              E.        One (1) Glock, 9mm, semi-automatic pistol, model #19, serial #DWW887
              F.        One (f j Glock, 9rnm, semi-automatic pistol, model #19, serial # PHV405
              G.        One (1) Less than lethal projectile
              H.        fwo' (Z¡ spent Taser cartridges, serial #REVC310089PC4X9 and
                        #REVC31008982X9


TACTICAL ANALYSIS

                  A conferral was conducted with Inspector Raynond Caroli, the Commanding
                                                                                              and the
Offrcer of the Fireanns and Tactics Section, regarding the circumstances of this incident
tactics utilized. It is apparent that the Emergency Service Unit members on scene            initially
secured the apartrnent ãàor and attempted to establish visual access to the aided
                                                                                         via a pole
camera mounted outside the apartrnent. This atternpt was mitigated by the
                                                                              curtains covering the
                                                                                                  that
windows. An attempt is madè to establish sor¡e verbal communication with the aided and
also proves unsuccéssful. A decision is then made by ESU Lieutenant Michael
                                                                                           Licitra   to
                              r to introduce a Pole camer
                              or prornPts the aided to Pull
                                ESU mernbers have at th
devices and an impact munitions device which both prove
raises his knife and charges at the officers and repeatedly stabs at and hits
                                                                                  at least two ESU
                                                                                               heavy
officers on their person. Íhe officers appeared to have avoided serious injury due to their
                                                                                            pistol to
protected vests taking the brunt of the iinpact. These officers then utilized their service
end the attack.




                                                                                                DEF 16746
               Tactical issues: If it was clearly established that the aided was alone inside the
apartrnent, which may have been uncertain at the time, a tactical consideration
                                                                                      of maintaining
                                                                 partial  breach and rather   awaiting
ful1 control of the apartrrent door by not performing the
                                                                                              a viable
fuither ESU perso*r.t to include ranking executive level rnembers may have been
                                                                                              plan and
option. This would have allowed the po.ribitity to establish a more formalized tactical
                                                                                        that there is a
further attempts to establish verbal contact with the aided. It should also be noted
                                                                                      and the strong
considerable tactical advantage of having visual access on a barricaded subject
assumption in this incident is ttrat the ESU members on scene felt that
                                                                             they could have secured
the door enough to allow apafüalbreaching in order to gain this advantage.


MEDICAL INFORMATION

               Detective Mateo was taken to New York Presblerian -'Weill Cornell Medical
                                                                                    and arm strain,
Center and treated and released for a puncture wound to his left arm, left shoulder
right elbow strain, and tinnitus by Dr' Dua.

             police Officer Kress was taken to New York Presbyterian - Weill Cornell
Medical Center and treated and released for tinnitus by Dr. Anthony'

                 police Officer Green was taken to New York Presbyterian - Weill Comell
Medical Center and treated and released for tinnitus by Dr. Cordwell'

                 Mr. Mohamed Bah sustained several gunshot wounds during the incident.
                                                                               Saint Luke's Roosevelt
However, Mr. Bah was pronounced dead at 2016 hours by Dr. Ralston at
Medical Center.


RADIO RUN INFORMATION
                                                                      of the radio
                 A copy of SpRINT job #Tll575 is attached. RecordingsDivision. The
transrnissions and calls to 911 were obtained from the central Communications
                                                                           Investigations unit'
recordings are on file at the office of the Patrol Borough Manhattan North
                                                                                   and witness
These recordings were reviewed and found to be consistent with the subject
                                                                              medical
accounts. The transmissions contain the standard requests for emergency
                                                                                        service,

additional assistance, emergency Services, supervisory personnel, along with
                                                                                   crime scene
notifications.


 RECOMMENDATION

                                   into this
    (5)
 five                             Andrew
 Michael                          (2) roun
 Ernotionally Disturbed person,  that  had just violently lunged and slashed at Detective Mateo and
                                                                                         his assault'
 officer Kress, vest with a lar'ge kitchen knife, and who was advancing to continue




                                                                                                 DEF 16747
                                                     Sergeant JosePh McCormack dePloYed the M-
Police Officer Kless dePloYed theX-26 Taser and
                                                              times at the subject; however, neither
26 Taser, indePendentlY, one (1) time each at different
                                                  ErnotionallY Disturbed Person. Detective Mateo
Taser attemPt was successful in restraining the
                                                             Launcher and discharged two (2) hard
deployed the Arwen Model 37 Less Lethal Munitions
                                                          to be ineffective at stopping the subject's
plastic less-lethal rounds at the subject which proved
                                                        bY the use of deadly physical force against
attacks. Unable to tactically retreal and confronted
                                                   (10) rounds to stoP the subject from continuing
them, three (3) officers discharged a total of ten
his deadly knife attacks against Uniformed Members of aforementioned Members of the
                                                                    the Service. The referenced
                                                             by the
investigation has concluded that the firearm discharges
                                                     the New York State Penal Law and within
Service were bo th lawful under Article 35 of
Departrnent Guidelines It is recommended
                                                that this fireanns discharge event be classified as:
                                                                   NO CORREC               ACTION
NO VIOLATION O F DEPARTMENT GUIDELINES.
TAKEN.


                                                                    -A/^
                                                                Natale
                                                           Captain




                                                      ion, Fireanns Discharge Review Board




 Chief of Patrol
 Chief of Detectives
 Chief of Internal Affairs Bureau
                                                           rth
 Cornrnanding Officer,
 Commanding Officer,
 Executive Offrcer, Pat
                                               Unit
                                                anhattan
                                               Section

                                                nit
 File




                                                                                               DEF 16748
                                                                     DFDRB#87s.12
                                                                     PBMNFDRB#12s. 12



                                    FIRST ENDORSEMENT
                                                     North to Chief of DePartment' The Patrol
Cornmanding Officer, Patrol Borough Manhattan
                                                  Board convened on December 20, 2013
                                                                                           and
Borough Manhattan North Firearms AdvisorY                                           #
                                        the actions of D etective Andrew Kress, Tax
                                                                                       906592,
reviewed the circumstances involving                                                 regarding
                                             Detective Michael Green, Tax # 930265,
Detecti ve Edwin Mateo, Tax # 9l7l2l' and                                       was chaired bY
                                             on September 25,20 12. The Board
their firearms discharge event that occurred
                                               Officer, Patrol Borough Manhattan North.
                                                                                           The
Deputy Chief Brian H. O'Neill, Executive                                       GUIDELINES.
findings of the Board were as follows: NO
                                            VI OLATION OF DEPARTMENT
                                                the findings of the board'
NO CORRECTIVE ACTION. I concur with


                                                                        A. Secreto
                                                                 Assistant Chief




                                                                                            DEF 16749
                                                                   REPORT UNDER
                                                                   P.G.2t2-29
                                                                   FDRB #87s.-12
                                                                   PBMNFD #12s.-12

                                  POLICE DEPARTMENT
                                   CITY OF NEW YORK

                                                       SePtember 25,2012


From          Shooting Team Leader, Patrol Borough Manhattan North

To            Chief of Department

Subject:      FIREARMS DISCHARGE BY THREE (3) ON.DUTY MEMBERS OF TIIE
              SERVICE, AT AN ARMED VIOLENT EMOTIONALLY DISTURBED
              PERSON, RESULTING IN THE DEATT{ OF ONE (1) VIOLENT
              EMOTIONALLY DISTURBED PERSON WITHIN THE CONFINES OF
              THE 26rH pRECINCT, INVESTIGATED UNDER IAB LOG #12-50993


     1.        OPENING

               On Tuesday, September 25, 2012, at approximately I94l hours, on-duty
                                                                          Andrew Ktess, tax
Detective Edwin Mateo, táx registry #gI7lzt, and on-duty Police ofhcer
                                                        unit Truck #2, and other members of
registry #906592, both assignrd to Ern.tgency services
                                      u põI. camera into 113 Morningside Avenue,  Apartment
their unit were attempting t-o deploy
                                    -Uy
#5D, when they were cãnfronted            før. lhamed Bah, a violent banicaded        Emotionally
Disturbed Person, wielding an eight (8) inch
and Police Officer Kress with the knife causin
deployed a less lethal Arwen 37 Munitions Proj
uiX-ZA Taser in an effort to stop the threat and
                              the threat posed by
were ineffective in stopping-srtgeant
device was made *tråtr                 Jóseph McCormack, tax registry #919383, assigned to
                                                                               results' As a result
Emergency Services Unit TruJk #2, deplàyed anw-26 Taser with negative
of thð threat of imminent death or serious injur
Officer Michael Green, tax registry #930265,
discharged their service weapons a total of t
Immediate medical aid was rendered by Dete
                                                                           Personnel on the scene'
assigned to Emergency Services Unit Truck #2, andEmergency Medical
                                                                           where  he succumbed to
                     ' r
Mohamed Bah was tránsported      to St. Luke's R< osevelt Hospital Center
his injuries an                                    by Doctor Ralston. Detective Mateo, police
Officer Kress                                      ansported to New York Presbyterian -'Weill
Cornell Medic                                      utrd non life threatening trauma related to the
knife attacks by Mr. Bah. The details are as follows:




                                                 I




                                                                                              DEF 16750
   2.          INVESTIGATBD BY
                                                                          Borough Manhattan
             This incident was investigated by Captain Eric Pagan, Patrol
                                                                 Michael J. Hanington, Patrol
North Shooting Team Leader, under the supervision. of In^spector
                                                                    Chief William T' Morris,
Borough Manhattan North, under the oveåll direction of Assistant
Commãnding Officer, Patrol Borough Manhattan North'


   a
   J                  NS INV      VED

                                         MOS SUBJECT

                     Rank        Shield      Tax           Command             Tour
Name
                     P.O.        10841      940264              ESS 2       1515x2350
Andrew Kress
Edwin Mateo          Det.         t496      917 r2l             ESS 2       I 5 15x2350
                                                                ESS 2       1 5 I 5x2350
Michael Green        P.O.         3 108     930265

                                     M      WITNE     ES


                                 Shield      Tax           Command             Tour
Name                Rank
                                  N/A       928343
                                                           -ffiP"t          1 500x2335
Robert Gallitelli   Lt.
                    Lt.           N/A       906642             ESS 2        1400x2235
Michael Licitra
                                            919383             ESS 2        1 503x2400
Joseph McCormack Sgt.             4353
                                  6414      907614             ESU          1515x2350
Christopher Zaberto Det.
                                            9480s5         26th Pct         1 500x2335
Vincent Johnson     P.O.          8537
                                 3063s      942819             26th Pct     I 500x2335
Esmeralda Santana   P.O.
                                                               26th Pct     1 500x2335
Brian Stanton       P.O.         11683      949693

                                    CIVILIAN SUBJECT

Name             Address                                                  DOB   NYSID
Mohamed Bah 113      M-orning side Drive, apt#5D,N.Y. N.Y.10027 09123183 00340662H

                                            AN             S


                                                                                Bureau and the
                Civilian witnesses were interviewed by members of the Detective
                                                                      Follow-up Informationals
Internal Affairs Bureau. These statements are contained in complaint
                                                                                known to the
(DD5's), and support the narrative in paragraph #4. Their identities are
 Department.

                                     CIVILIAN VICTIM

                Not APPlicable




                                                 2




                                                                                           DEF 16751
    4.          NARRATIVE

               on Monday, septembet 24,2012, Ms. Hawa Bah arrived at John F' Kennedy
                                                                            was in New York
International Airport from her native country, New Guinea, Africa' Ms' Bah
                                                 hamed Bah, who  resided at 113 Momingside
                                                     ah was concerned for her son's well being after
                                                    cent behavior was strange and erratic' Upon
                                                    brother, Oumar Bah. The pair travelled to 113
                                                     amed. When Ms' Bah knocked on the door to
apartment #5D, Mohamed answeied but refused to allo
unkempt, disheveled and had an apparently recent injury
mother that he did not want to talk and asked her to come
Bah and her brother left the locatiòn and went to spend
who resides at 857 Crotona Park North, Bronx, NY' The
 2012, ¡y1s. Bah along with her niece, Bintou Kaba, travelled to 113 Momingside
                                                                                           Avenue where
they                                        d's c
spea                                        ed th
and                                          into
returning downstairs    to the front of  113   Mo
request of Ms. Bah. Ms. Bah then took      the  ce
son had mental issues, was depressed and was
respond to assist in ottuining medical treatment for
                                                                                               1843 hours'
Police Ofhcer Brian Stanton, tax registry #949693,                                            Santana' tax
registry #g4281g, assigned to 26th Piecinct Sector A
                                                                                              ent of 10-54
pñp *ltfr a psychiatriã Uirtory. Lieutenant Robert Gallitelli, tax        registry #928343,    assigned as
 tn"-zai;'ir".i"ät prutoon commander, along with Police officer vincent Johnson, tax registry
                                                                                            both anived at
#94g055, also responded to the radio assignment. The lieutenant and the sector
                                                                                met  by Ms'   Bah and Mr'
the scene at the same time. Upon exiting his RMP, Officer Stanton was
Diallo in front of the building. lMs. gãh explained to officer Stanton that her son was
                                                                                                     acting
                                                                                        made of possible
inationally, but had no histor! of mental illnãss or violence. No mention was
                                                    tion to the other responding       offltcers. They all
                                                    Floor and next to the stair well entrance' After
                                                    ed himself to the right of the door to apartment
                                                     left side of the doorway. Officer Santana stood
 opposite the door and to the left next to the hallway railing. Lieutenant
                                                                                Gallitelli was positioned
                                                                             times  requesting Mohamed
 behind officer santana. officer Stanton knocked on the door         several
 open the door. The door ^partially opened with Mohamed standing behind
                                                                                   it' Only the right side
                                                                                          an eight (8) inch
 of Mohamed was visible. He was entirely naked; in Mohamed' s right hand was
 kitchen chef knife. Mohamed yelled out, "it's not me,         it's  not me"   and  "I'm  not Mohamed'"
                                                                                                   to block
 Initially, officer Stanton and officer Santana placed one (1) of their feet in the     doorway
 the closlng of the door by Mohamed. When officer stanton observed the
                                                                                     knife in Mohamed's
 hand, he Jepped back and alerted officer Santana of the          large  knife.  officer  Santana stepped
                                                                                   was  engaged'    Officer
 back at which time the door closed shut and the internal lock mechanism
                                                                                 of the knife' Lieutenant
 stanton and officer Santana informed the lieutenant of their observation
 Gallitelli notiflred the                          requ
                 ass
personnel for their                                icade
Sergeant Joseph McC                                 1938
 #904057, assþned to                                with
                                                      a
                                                      J




                                                                                                     DEF 16752
g076l4,and Police officer Michael Green, tax registry #930265, assigned to ESU Truck Adam
#2 and Detective Edwin Mateo, tax registry gl7l2l, and Police office Andrew Kress, the     tax
                   ,rijn.a to ESU TrucÈ Boy #2, responded to the location. Upon   arrival'
                   abfished the ESU protocâls regarding a barricaded EDP. This included
                   peephole and securing the door from being opened by persons inside the
apartment. The door's peephole was then
apartment. The ESU personnel established a
Offi".t Kress was holding both a ballistic
possible use. Detective Mateo was next in line
Munitions Non-Lethal Launcher which deploys a 37 millimeter less lethal
                                                                          projectile. officer
Green was next in line with the Y-Bai        Detective  Zaberto was  next  with a water ltre
                                                                           Taser prepared for
extinguisher. Sergeant McCormack was at the end of the stack with lheM-26
deployment.
rope tied to
contact with
noises on the other side of the doorway. D
                                                                                                   and the
Sergeant McCormack requested the respônse of a Hostage Negotiation Team (HNT)
                                                               Gallitelli           the  Patrol   Borough
Technical Assistance Response unit (TÁnu). I ieutenant                    notifred
Manhattan North Duty Cäptain, Captàin Perry Natale of the banicaded EDP. The
                                                                                               City North
                                                                                                     to the
Manhattan ESU Supeivisoi, Lieutenant Michael Licitra, tax registry #906642, responded
location to assess und supervise the ESU personnel. After         being   informed    of  the  barricaded
situation by Detectiv e Gonzalez, Lieutenanf Lirit.u directed Detective Gonzalez to
                                                                                            utilize a pole
camera via the fourth floor apartment below apartment #5D. The
                                                                           pole camera was deployed
                                                                   floor  apartment    through the rear
from the fire escape with thó intention of obsèrving       the 5th
                                                                                                       The
windows. Drapes covering the windows however prevented any possible surveillance'
Hostage Negotiation Teamlsupervised by Captain J¡ffrey Hart, Detective
                                                                                   Borough Manhattan,
interviewed Ms. Bah regarding her son. T.ne then             attempted    to  establish-a    dialogue by
                                                       not answered and went straight voicemail'
                                                                                            to
                                                  door peephole failed due to poor visibility in the
                                                    ined that a partial breaching of the apartment
door was necessary to deploy a pole camera over the top of the door frame
                                                                                         to ascertain the
position of the Emotionally Disturbed Person'
ãpartment and engage the EDP. The rope end
McCormack now holding the end of rope tight
was placed into the door frame and the door wa
 hoisted above the door into the apartment. The
                                                                             his right hand. Mohamed
 and shorts, standing in the centei of the room still holding the knife in
                                                                                 and violently pulled it
 then advanced towards the door and from the inside, grabbed the door
                                                                      proximity    to the front door and
 completely open intã the apartment. The EDP was now in close
 still brandishing the knife, waving it around at officer Kress and the other ESU
                                                                                                 personnel'
                                                                                                  the x-26
 offrcer Kress advanced uppro*i*ãtely two (2) feet into the apartment and p-ointing
                                                                                                        and
 Taser at Mohamed, ordering him to drôp the t oif.. Vtottamed lunged
                                                                             towards   OfFrcer   Kress
 slashed him with the knife Jeveral timei in the chest area of the
                                                                     bunker vest causing damage. In
                                                                                     against Mohamed'
 response, Officer Kress deployed Ihe X-26 Taser which was ineffective
                                                                                             weapon and
 Detective Mateo then advanced and deployed the Arwen Model 37 Munitions
                                                                                  also ineffective' The
 discharged one (1) hard plastic less lethãl iound at the EDP which was
 EDp then tumed unã tutri.O at Detective Mateo with the        knife  striking  him  in the left shoulder
                                                                  (3) with the   EDP    lunging wildly at
 causing blunt trauma. A-struggle ensued involving all three

                                                     4




                                                                                                     DEF 16753
both Detective Mateo and Officer Kress with the knife. Sergeant McCormack
                                                                                         then heard
                       ,,He has a knife." Sergeant McCormack advanced into       the  apartment   and
Detective Mateo yell,
                                                                                     was ineffective'
reaching over Detectíve Mateo, deployed thtM-26 Taser at the EDP' The taser
                                   (t¡ ôrtn. members  of ESU   (unidentified)  state, "he's stabbing
Lieutenant Licitra then heard on.
       .,Shoot him.,' Detective Maìeo, Officer Kress and Officer Green discharged their service
me.,,
weapons at the EDP, striking the EDP numerous times' D
                                                                                              hve (5)
rounds from his ,"*i.. -"ufon, a Glock, 9MM, Model 19'
                                                                                             hree (3)
rounds from his service *"upon, a Sig Sauer, 9MM, Model P
                                                                                              ged two
(2) rounds from his serviceïeapott,ã Glock, 9MM, Model 19' As result, Mohamed Bah was
struck several times about the torso. Detectir e Zaberto, a certified paramedic, immediately
rendered medical aid to the injured EDP. Emergency Medical Services personnel
                                                                                          responded
from the fourth floor and proðeeded to treat the aided EDP for the gunshot wounds he had
sustained. Lieutenant Galliielli notified Captain Natale of an MOS involved shooting.
                                                                                              Captain
Natale requested a Level 1 Mobilization for crowd and       trafhc  control.   Mohamed      Bah   was
removed to St. Luke's Roosevelt Hospital Center for the treatment of his
                                                                                   gunshot   wounds.
Lieutenant Licirta and Lieutenant Gallitelli conducted firearms checks of the ESU
                                                                                          personnel.
Detective Mateo, offlrcer Kress and officer Green informed   Lieutenant  Licitra  that they  had each
discharged their firearms. An inspection of the three (3) firearms conhrmed               the   recent
discharles. Detective Mateo's firearm contained eleven (11) live rounds, one (1) in the chamber
                                                                                            (1) in the
and ten (10) in the magazine. Officer Kress contained thirteen (13) live rounds, one
                                                                      contained    fourteen  (14) live
 chamber and twelve çt"Z¡ rnthe magazine. Offîcer Green's hrearm
rounds, one (l) in the chamber andlhirteen (13) in the magazine. Captain Matthew Galvin,
                                                                                                   the
 Emergáncy bórvi""r Unit Duty Captain responded to the scene and inspected Sergeant
 McCõrmaik,s firearm and Deiecivè Zaberto's firearm which did not reveal any recent
 discharge. Detective Mateo, Officer Kress and Officer Green were removed to New York
 presbytãrian - Weill Cornell Medical Center for treatment of tinnitus and non life threatening
                                                                                     was pronounced
 trauma related to the knife attacks by Mr. Bah. At 2016 hours, Mohamed Bah
 DOA bv Dr. Rolston.


     4a.        LESS-LETHAL FORCE OPTIONS
                police Off,rcer Kress deployed theX-26 Taser, serial #X00-537448, at the armed
subject at a distance ofthree (3) to seven (7) fee
                                                                                             contact
witir ttre subject the Taser pìou.d ineffective.                                             etective
Mateo deployed the Arwen (Anti Riot Weapo
                                                                                            auncher

which aeptoys a 37 millimetei less lethal proþctile
                                                                                             (1) less
lethal round at the armed subject. The investigation at this time is unable to determine
                                                                                            whether
                                                                           unaffected  following   its
the less lethal round actually struck the target subject but he remained
deployment. In quick succession with the deployment of lhe Arwin Munitions weapon'
                                                                                            Sergeant
                                                              at the armed  subject at a distance   of
vtðCórmack deployed the M-26 Taser, serial #P3-024206,
three (3) to serren (7) feet. Although the darts appeared to make      contact with the  subject  the

Taser proved ineffective'




                                                   5




                                                                                                 DEF 16754
      5.      DETECTIVES

              Numerous members of the Detective Bureau, along with members
                                                                                 of the Internal
                                                                            Heemstede Obe,26th
Affairs Bureau, responded and assisted in this investigation. Detective Van
Precinct Detective Squad, has been assigned the case under   case #12-026-935'



      6.       INVESTIGATIONS UNIT

                Members of the Patrol Borough Manhattan North Investigation unit responded
and assisted in this investigation'



      7.       DISTRICT ATTORNEY
                                                                                Attorney's
               Assistant District Attorney Shannon Lucey, New York County District
             contacted and responded io the 26'h Precinct station house and
                                                                            participated in
Off,rce, was
interviewing civilian witnesses'


      8.       MOS STATEMENT. SUBJECT

               Detective Mateo, police Officer Kress and Police Officer Green were
                                                                                               not
 interviewed as per a request from Assistant District Attorney Shannon Lucey'


      g,       MOS STATEMENT - WITNESS
                                                                                 the provisions
              Member of the service witnesses were formally interviewed under
of Patrol Guide procedures 206-13 and 203-08. Lieutenants Licitra and Gallitelli           were

represented by Lieutenant Thomas O'Neill,
                                                                              the  Lieutenant's
Benevolent Association. Sergeant Joseph M
                                                                              Sergeant Joseph

Quinn, Transit Bureau Directoiof the Sergeant's
                                                B                             ctive Christopher
 Zaberto was represented by Detectiu. Thotnus Driscoll of the
                                                                      Detective's   Endowment
                                                                              by Police Officer
Association. Police Officers iohnson, Santana, and Stanton, wefe represented
Desmond stafford, Patrolman's Benevolent Association       Manhattan   North   Trustee' Their
statements w.re .le.lrã"irurty recorded and are kept on file at
                                                                the Patrol Borough Manhattan
                                                                         narrative in paragraph
North Investigations unit. These statements helpeðform the basis of the
#4.

             Ro                                       43

                                                                                      performing a
                 On Tuesday, Septemb er 25, 2072, Lieutenant Robert Gallitelli was
  1445x2330 tour of auty, ár.igned as the 26tl' Precinct Platoon Commander,
                                                                               with Police officer
                                                                               were  both attired in
 Vincent Johnson aesignatea ãs his operator in marked RMP #5622.         They
                                                                    his vehicle operator responded
 the uniform of the dayi During the tóur, Lieutenant Gallitelli and
                                                                       arrived simultaneously with
 to a radio signal or a to-s+ Bop at 1 13 Morningside Avenue. They
  iølt ir,""¡nci sector Adam (police officer santana and Police     officer  stanton)' Lieutenant

                                                  6




                                                                                               DEF 16755
                                                                                        herself as the
Gallitelli observed six (6) individuals at the location, one (1) of whom identified
                                                                                 irrationally,  did not
EDp,s mother. She stated that her son, who was in the apartment acting
                                                                                at apartment #5D, an
have any psychiatric history, was unarïned and lived alone. Upon affiving
                                                              it standing  completely   naked making
officer knocked on the door and the EDP partially opened
                                                                                      to  engage in a
unintelligible and incoherent utterances. Offlrcer Stanton initially attempted
conversation with the EDP and then suddenly stepped back away from the door'
                                                                                             The EDP
slammed the door shut and locked it. Lieutenant Gallitelli was informed by
                                                                                 officer Stanton that
                                                                                 established   firearms
the EDp had a large knife in his hand. Lieutenant Gallitelli immediately
                                                                                                that the
control and requesied the response of ESU. Lieutenant Gallitelli also informed central'
EDp was banicaded with a knife in his possession. EMS arrived shortly before ESU
                                                                                               and was
                                                                     floor, while  ESU   attempted    to
instructed to remain on the floor below, which was the fourth
establish a dialogue with the EDP. Upon their arrival, ESU personnel directed
                                                                                                that  all
unnecessary personnel leave the 5th floor landing. As E,SU was setting
                                                                                     up, the Hostage
                                                                         on the 5"' floor  and officer
Negotiating T"u- and TARU arrived. officer Santana          remained
                                                                                        was
Stanton was stationed at the apartment directly below #5D. An additional sector
                                                                                             requested
to secure the fire escape and front door. Lieutenant Gallitelli was not in a position where
                                                                                                      he
                                                              Gailitelli did not observe   ESU    breach
could hear urry r.rponrã from the EDp to ESU. Lieutenant
the door or enter the apartment. Lieutenant Gallitelli heard at least two (2) Tasers being
deployed and subsequentiy heard seven (7) to ten (10) gunshots being fired in
                                                                                     quick succession
                      'ue ¿i¿ not personaliy observe anyone discliarge their firearm and he could
 uit", âsmall pause.
not hear any .orn*ands being given by ESU personnel, but heard inaudible screaming.
Lieutenant Gallitelli then directed EMS to render medical attention to the EDP.

             er

               police Officer Brian Stanton performed a 1500x2335 tour of duty, assigned Io 26th
precinct sector Adam, with his partner Police Officer Esmeralda Santana, in RMP #3344' At
approximately 1843 hours they responded to
Morningside Avenue. Officer Stanton and his
along w-ith Lieutenant Gallitelli, the 26th Preci
Johnson. Upon arrival, Officer Stanton was app
                                                                               mother stated her
the EDp,s fãmily members. one woman whõ identiflred herself as the EDP's
                                                                                   any weapons'
son had been aóting irrational all day but was not violent and did   not  possess
Officer Stanton, Ofircer Santana, Lieutenant Gallitelli and his operator, Officer
                                                                                    Johnson then
began to ascend the stairs to apartment #5D' O
r*ng partially open. Officer Stanton observed
to him- Officer Stanton began a dialog with
Officer Stanton asked the EDP if he had any cl
"not me, you." The EDP abruptly attempted to
                                                                               pointed outward.
EDp turned his body and offlrcei Stantoì saw a large knife in his right hand
                                                                  officer  santana   attempted to
The knife was as laige as a butcher's knife. officer Stanton  and
                                                                  partner back.    The  door then
stop him but Officeritanton pulled back his foot and pushed his
                                                                          EDP possessed a large
 slammed and was locked. Officer Stanton then advised everyone that the
                                                                                  then heard the
knife. Lieutenant Gallitelli called for ESU via division radio.  Offrcer Stanton
                                                                                    Stanton went
 EDP muttering in what appeared to be a prayer. Upon ESU's arrival, Officer
 downstairs in an attempt tã ,"cure the keys for the roof from the building's
                                                                                  superintendant'
                                                                                 offlrcer stanton
 officer Stanton did noi re-enter the building. while in front of the  location,


                                                     7




                                                                                                    DEF 16756
                                                                                  in establishing the
heard sounds consistent with gun shots. At that point, officer Stanton
                                                                       assisted
outer perimeter of the crime scene.

                  m            ta                     28         Pr

               police Officer Esmeralda Santana performed a 1500x2335 tour of duty assigned
                                                                                       #3344' At
to 26th precinci sector Adam, with her partner Police Officer Brian Stanton, in RMP
approximately 1843 hours they responàed to ¿
                                                                      om  to a signal  10-54  EDP
located at 113 trtornlngriO. Ru.rr.rå. Offlrcer S
                                                                                             at
                                                                       anived at the scene the
same time as Lieutenant Gallitelli and his oper
                                                                       Johnson' At the location
                                                                                            further
officer Santana *ur- Ã.t by an individual who identified herself as the caller and
informed Officer Santana that her son was acti
her son was armed. Offlrcer Santana began asc
Stanton in the lead, followed by Off,rcer Johnso
Santana could not see the male inside of the
partial view of him and observed that he was
                                                                             he was emotionally
male in conversation, and the male's statements lead her to conclude that
                                                                                to use her foot to
disturbed. The male áttempted to close the door and officer Santana attempted
                                                                                male had a knife,
prevent him from doing so, however upon hearing Officer Stanton state that the
she removed her foot from the door, allowing it to     close.  Lieutenant  Gallitelli immediately
requested the Emergency Services Unit to tlie
                                                                              tcher  that the EDP
had a knife. V/hen-ESú arrived, Officer Sant
                                                                              ing' but was at the
opposirvedmembers<itharopetosecure
it, ãnd            ngage the EDP in conversat
observ             chine to breach the door' S
ensue and a Taser being deployed' After the deployment o
gunshots in quick succession'

                       tJ           T

               police Officer Vincent Johnson performed a 1500x2335 tour of duty, assigned as
                                                                     they received a radio run of a
Lieutenant Gallitelli,s operator, in RMP #5622. During their tour
                                                                         he observed sector Adam,
10-54(EDp) at I l3 Morningside Avenue. Upon ariving at the scene,
with police officer Santana and police office r Stanton, who had arived at the
                                                                                        location at
                                                                         a women (who was later
approximately the same time. upon their arrival they were met by
identified as Hawa Bah, DoB tiz+ttosz¡ who claimed to be the mother
                                                                                 of the EDP (later
identified as Mohamm.j Bhu, DoB
                                       glz}líoal;. she stated that her son was upstairs alone and
acting erratic, but that he was not violent'
Officer Johnson entered 113 Morningside
Santana and Officer Stanton to further investig
to apartment #5D, where Officer Stanton knocl
                                                                          his body bladed' Officer
way rapidly, with the EDP standing behind the half opened door with
                                                                    needed any assistance. At that
stanton asked the EDp if he could put on some clotheì and if he
point officer Johnson heard the EDp mumble something to the       effect of "not me, it wasn't me'"
                                                                  to prevent the EDP from closing
Off,rcer Stanton had his foot in the front door frame attempting
the door. Suddenly,Officer Stanton quickly       rernoved hisfoot from the door frame and backed
                                              l'h.  hu, u kqry:' All of the officers backed up to a
 away from the door simultaneously stàting
 safe distance and told Lieutenant Gallitãlli that the EDP had a knife'
                                                                                 Upon hearing that

                                                  8




                                                                                                 DEF 16757
                                                                          Service.unif, and to have
inforrnation, Lieutenant Gallitelli called central to notify Emergency
                                                 loon after the door was closed, Officer Johnson
                                                   oximately five (5) to ten (10) minute later, three
                                                                     The ESU members tied roPe to
                                                                    rail banister. Officer Johnson
backed down the stairs, and was assigned to a p
                                                                     building to secure the location'
V/hile outside, the driver from one (1) of the
ESU members within the building. Upon recei
floor landin g, gave it to an officer from ESU
under the EDP's apartment on the (4th) fourth
escape to make sure that the EDP did not attempt to escape
                                                                    using the fire escape' officer
                                                                  come from upstairs'
Johnson stated that he heard approximately (5) five quick shots

        ant           Lici       x

                                                                          tax registry
               O' Tuesday, September 25, 201} Lieutenant Michael Licitra, Service city
#906642, performed a 1400x2235 tour of duty, assigned as the ESU
                                                                          Emergency
                                                                                   for a request for
North supervisor. During his tour he responded to 113 Morningside        Avenue
                                                                                 over division radio
ESU that was originally tänsmitted by the 26't'Precinct Platoon Commander
and which was retransmitted over spêcial operations division radio.
                                                                         The original request was
                                                                              address. The request
made in regards to a banicaded EDp on the 5'n floo. of the aforementioned
                                                                             was no mention of the
for Lieutenant Licitra's response was transmitted over SoD radio. There
                                                                                 he affived at 113
EDP being armed with a knife during the initial transm^ission. when
                                                                     Detective   Gonzalez. ESU' It
Morningside Avenue, Lieutenant Licitralas met and debriefed by
                                                                                  responding patrol
was during this debriefing that Lieutenant Licitra was told that the fltrst
                                                                                Licitra proceeded to
personnel had in fact obserîed the EDP in possession.of a knife. Lieutenant
suit up in his tactical gear and then entereà the location ma
                                                                   his way   to the 5'h floor' Upon
;i"üg ;; rrr. j¡i flJor, Lieutenant Licitra met with Sgt. ormack,             Police officer Ktess,
                                                                       four (4) personnel on scene
Detective Mateo, Police officer Green, and Detective zaberto' All
                                                                      equipped    according to ESU
were already attired with their tacticalhelmets, heavy vests and
                                                                                with an X-26 Taser
protocols. police Off,rcer Kress was designated the lead bunker and armed
                                                                       munitions launcher. Police
drawn in his ha'd. Detective Mateo was- armed with a less lethal
                                                                                     used to breach a
officer Green and Detecti ve Zaberto had other equipment including equipment
                                                                                 already been roped
 door. sergeant McCormack was armed with an M-26 Taser. The door had
                                                                            the 5'h floor' The peep
 off according to ESU procedure prior to Lieutenant Licitra's arrival on
                                                                       visual  intelligence from the
 hole had also been frJuiourty removed in order to attempt to
                                                                 gain
                                                                     to provide additional lighting'
 apartment. CtremiciLtights were introduced through the peep hole
                                                                  and Detective Zabetto went one
 but were unsuccessfut ifter being deployed. Lieutenant Licitra
                                                                               (3) exterior windows
 (1) floor below in an attempt to-gain visual intelligence through the three
                                                                                 were obstructed by
 utilizing a pole camera. The reiults were negative because the windows
                                                                   5'h floor and was informed that
 blinds or other .ou.rinj. Lieutenant Licitra thãn returned to the
                                                                        Sergeant McCormack then
 the EDp was no lo.rgå communicating with on scene personnel.
 proceeded to untie th"e door so that the'door could be bieached
                                                                    by utilization of a rabbet tool'
                                                                   the door, not for entry by ESU
 The door was breached solely to stick the pool camera through
 personnel. The pole .u-"ru,ïhich does nót record, allowed the ESU
                                                                          perso*el to see an image
                                                                                          the Hostage
 of the EDP in the center of the apartment. Sergeant McComlack did request                     mother'
                                                                           from   the  EDP's
 Negotiation Team which was in thá process of gathering infomration
                                                                           attempted    to  contact the
 The Hostage Negotiation Team, whiðh had prevìously unsuccessfully
                                                   9




                                                                                                 DEF 16758
                                                                                 attempt to gatn
EDp via telephone, made no additional attempts at that time. While another
                                                                      the ESU team which also
verbal communication with the EDP was being made by members of
met negative results, the EDP grabbed the dooi in an attempt to open it.
                                                                          After a brief struggle,
                                                            given verbal  commands     by Officer
the EDp successfully opened tf,e door. The EDP was then
                                                                                   Officer Kress
Kress to drop ttre tniie. The EDP did not comply with the commands and
deployed fris k-ZO Taser with negative results. The EDP then attacked
                                                                       Officer Kress in a violent
manner with a large chef s kniie. After Detective Mateo     fired a round   from his less lethal
                                                                              his attack towards
munitions launcher with negative results, the EDP then proceeded to direct
                                                                                    reached over
Detective Mateo. Sergeanlt McCormack, who was behind Detective Mateo,
Detective Mateo
alternating betwe
stabbing me, sho
different officers
began to render aide to the EDP. EMS subseq
Lieutenant Licitra, went back downstairs out of the apartment and conducted
                                                                                             a firearms
                                                        their weapon.  The  results   of the  inspection
inspection to verify which ESU personnel discharged
                                                          gMM,   model 19)    had   11    rounds   in his
showed that Detective Mateo (ìrmed with a Glock,
                                                                                            a Sig Sauer,
firearm, I in the chamber, 10 in the magazine. Police Officer Kress (armed with
                p226) had 13 rounds in his flrrearm, 1 in the chamber,  12 in  the  magazine'      Police
9MM, model
officér Green (armed witli a Glock, 9MM, model 19) had 14          rounds   in  his  firearm,    1 in the
clramber, t¡ i¡ the magazine. Lieutenant Licitra did not inspect any other
                                                                                         firearms.    All
                                                                                   Lieutenant Licitra
remaining weapons were"inspected by Captain Galvin with negative results.
did observe a cut on the uniforrn shirt of Detective Mateo     and knife slashes    on officer K¡ess'
vest. The three (3) ESU personnel who fired their weapons were transported to New York
presbyterian - weiil corneil Medical center and one (1) Taser dart was observed lodged in the
                                                                                            20's to early
EDp,s chest area. Lieutenant Licitra describe the EDP as a male Black in his late
                                                                                  pants'
 30's, approximately 6' tall weighing 180 lbs., wearing a white shirt and black

serseant Joseph Mccormack, tax reeistrv #919383. ESU. #2 Truck

                Sergeant Joseph McCormack performed a 1503x2400 tour of duty,
                                                                                            assigned as
            #2 supervisor in Truck #5511, with Detective Gonzalez. Sergeant McCormack
                                                                                      was
the Truck         -soD
requested ou..          division radio to respond to 113 Morningside Avenue in regards to a
                                                                                   and Detective
ba'icaded EDp. Upon arrival, Sergeant McCormack met with Ofhcer Kress
                                                                     Officer        and Detective
Mateo assigned to thä Adam car, Sergeant McCormack, along with
                                                                             Kress
Mateo, suited up with heavy vest and helme
Lieutenant Gallitelli, the 26"' Precinct Platoon
began to confer about what had transpired' S
Gallitelli that they had an EDP with a knife.
Detective Zaberto and Ofhcer Green. The stac
and taser, Detective Mateo with the Arwen less lethal munitions launcher,
                                                                               Officer Green and
                                                                                      contact with
Officer Zaberto side by side with Sergeant McCormack. They attempted to make
                                                                                    The door was
the EDp who was inside the apartment but the EDP was speaking incoherently.
                                                                         McCormack'      The peep
roped off and tied to the baniùer while the end was held by Sergeant
                                                                           since it was dark with
 hole was removed and used to place chemical light sticks in the apartment
                                                           Hostage Negotiation Team and TARU'
 no visibility inside. Sergeant McCormack requested the
                                                                                the patrol units to
 Lieutenant Licita,ESU, anived on tlie scene. Sergeant McCormack directed
                                                                   apartment to see the floor plan'
 attempt to gain entry to'the apartment directly beneath the EDP's

                                                    10




                                                                                                    DEF 16759
The pole camera was requested to the 4tl' floor
into ìhe 5'h floor windows but was met with
completely blacked out' With no visual into
       a small void in order to utilize the pole
"t.ui.
from the door in order for the breach to occur b
                                                                                          EDP
camera receiver was very dark and
violently thrust the door open with u
                                                                                          door
                                                                                         X-26
caused Sergeant McCormaik to lose
                                                                                         e and
Taser with negative results. Detective
was also met with negative results' Sergeant
                                                                                          state
,,he,s got a knife, he's stabbing me, shootllim." Sergeant McCormack could not see if the EDP




McCormack verified that his Taser and Offic
protocol.

                                                        I             ck

                                                                                           assigned to
                Detective Christopher Zaberto, tax registry #901614, shield #6414,
                                                                                         performed
ESU Truck #2, Boy car in nl4p +ssql, with Police officer Michael                  Green,               a

1515x2350 tour of ãuty. Detective zaberto was directed by SoD
                                                                            radio to respond    to  113
                                   an EDP. The       initial job  came  over   as an EDP, then as a
Morningside Avenue rågarding    -upoo
                                        their affival they were briefed by    Detecfive  Gonzalez, of
banicaded EDp with u tär..                                ;Zaberto
Truck #2,who was already on the scene. Detective                   met with a woman who identified
                                                                        any medical history, but has
herself as the EDP',s ,ooth.l. and stated that her son does not have
                                                   o and his partner both entered into the building
                                                   h floor of the location' They then met with ESU
                                                     and Detective Mateo. Police Officer Kress had
                                                     e EDP's view through the peep hole, and tried
                                                                                      Mateo equipped
to initiate verbal contact with the EDP. Detective Zaberto observed Detective
with an Arwen which is a less lethal weapon that projects          rubber ballistic bullets. Detective
                                                                        knob and the    other  end tied
 Zaberlo also observed a rope with one enã tied aróund the door
around a banister to prevenithe EDP from opening ft9 4
                                                                                          ãm members

were waiting for inte'llþence that was being gatheied by                                  î9:t   1" tliT
their next move. The þeep hole to the apartment door
                                                                                           and blocKed
                                                                                    the peep hole' A
with a bunker by Poliãe òff,r."l. Kress to restrict the EDP's view through
chemical light was deployed into the peep hole so that
proved unsuccessful. DetectiveZaberto was in contro
àoor at that time. Detective Zaberto was able to gain
                                  ugh the ftre escaPe to
                                  ment window shades
                                  he door where the rabbet tool had been used to pry it open'
                                                                          while Detective zaberto was
 Lieutenant Licitra from ESU was maneuvering the camera around
                                                   1l



                                                                                                   DEF 16760
                                                                                           the camera
viewing the monitor. This also proved unsuccessful because the EDP moved
                                                                                        was    given to
prohibñing ESU from seeing utrything inside of the aparttlent. The monitor
Lieutenant Licitra and Detective Zaberto returned back to his position on the entry
                                                                                            team. The
                                                   Officer Kress  entered  into the  apartment     with
door of the apartrnent then flew open and Police
                                                                             to  drop   the   knife  and
Bunker and taser in hand. Detectìve Zaberto heard repeated commands
                                                                                    McCormick       then
observed police Officer Kress deploy the Taser with negative results. Sergeant
deployed his Taser with negative reiults. Detective   Zaberto  could not make    out  if the less than
letihal-weapon Arwen was ãeployed. At that point the EDP was still      being   ordered     to drop the
                                                                                                      the
knife but was non-compliant. pótice officer Kress, while backing up dropped his Taser and
EDp started stabbing ui poli". officer Kress under his bunker with the knife in his hand.
                                                                                                  Police
                                                              gmm    Sig         firearm     and  Police
Officer Kress discharged more than one (1) round frorn his               Sauer
Officer Green also diãcharged his 9mm Glock 19. The EDP suffered bullet wounds                 from   the
                                                                                                 Mateo'
shooting and fell to the ground. At that time Detective Zaberto checked with Detective
police Officer Green, uid Poli." Officer Kress to see      if anyone   was   stabbed    with   negative
                                                                                          and saw that
results, everyone ,"port.d they were okay. Dete ctive zaberto checked on the EDP
he was still alive and conscious but incapacitated with the knife he had previously
                                                                                         held lying on
                                                                aid to      EDP   Detective     Zaberto
the floor about one foot from his body. While administering            the
observed two barbs lodged in the EDP. One was in his neck and the other        on his  left  torso  area.

Detective Zaberto an¿ Ëus already on the scene rendered advance care to the EDP and removed
him to Saint Lukes HosPital.


    10.         CIVILIAN SUBJECT.INTERVIEW

               Mr. Mohamed Bah succumbed to his injuries and was pronounced dead at20t6
hours, and therefore was not interviewed.


    11.         CIVILIAN WITNESS .INTERVIEW

              lnterviews with civilian witnesses to the incident were conducted by
                                                                                  Informationals
members of the Detective Bureau and were recorded on Complaint Follow-Up
                                                                   Detective Bureau  and Internal
(DD5,s). A canvass of the area was conducted by members of the
                                                                                      narrative in
Affairs Bureau. The aggregate content of the interviews helped form the basis of the
paragraph#4.

                 Civilian Witness #1. a female, black, ear-witness, known to the Department,
stated that she              on u door upstairs and then gunshots. The witness stated he was a
                 h.u.d-bu1ging
nice guy and would help her with groceries/packages'

               Civilian Witness #2. a female, Hispanic, ear-witness, known to this Department,
 stated she heard urãffiãî-otto*ed by gunshots at which point she
                                                                          ran to the rear of her
 apartment. The witness stated she doesn't-ktto* the aided and has lived in the
                                                                                building for five
 (5) years.

              Civilian Witness #3. a male, black, ear witness, known to this Department,
 stated UMOS utitir.d tris frr" .s"ape to try and view the aided's apartment
                                                                             with a camera but the
 blinds were down. The witness furthei stated that UMOS attempted to call
                                                                                     the aided via

                                                    t2



                                                                                                    DEF 16761
telephone but no one answered. The witness heard a door open,
                                                                       a scuffle and then gunshots'
Witness stated he doesn't like the police but feels they did everything they could'

                  Civilian Witness #4. a female, black, ear witness, known to this Department,
stated she heard u   ,.iñ-nrhotr.        The wiíress does not know the aided and only spoke to
him in passing.

                  civilian witness #5 a male, black, ear witness, known to this Depaftment, s
statedlrejustnTuøuntor"o-.otionandjustknewtheaidedasaneighbor'

               Civilian Witness #6 a female, black, ear witness, known to this Department,
                                                                   aided was a nice guy and
stated she heard a lot of commotion. According to the witness, the
didn't bother anybody.


    12.           EMOTIONALLY DISTURBED PERSON HISTORY

                  A Real Time Crime Center search of Mr. Mohamed Bah did not produce a
                                                                                  New York City
criminal history. One (1) non-criminal NYSID # 00340662H was listed for a
Taxi and Limousine CòÁrnission application and a New York Department of State-Licensing
Division application. He has ,.u"rui vehicle traffrc infractions noted regarding vehicle
                                                                                         accidents
and moving^violations. There are no previous aided events on    file for Mr' Bah'



    13.           MOS DESCRIPTION

              police Ofhcer Andrew Kress is a male, white, forfy-four (44) years old. He was
                                                                           the uniform of the day'
wearing his Department authorized bullet-resistant vest and was attired in
He waã in possession of one (1) flrrearm, his authorized service weapon' at
                                                                                   [¡e time of the
incident. Also in his possession at the time of the incident was a modelX-26
                                                                               Taser'


              Detective Edwin M
wearing his Department authorized
He was in possession of one (1)
incident. Also in his possession at
weapon.

                  police Officer Michael Green is a male, white, thirty-three (33) years old. He
was wearing his Department authorized bullet-resistant vest and was
                                                                    attired in the uniform of the
                                                                                           of the
day. He wãs in possession of one (1) hrearm, his authorized service weapon' at the time
incident.


     14.          MOS FIREARM INFORMATION

                Detective Mateo's authorized service weapon, a Glock, 9mm, semi-automatic
                                                                            Michael Licitra' tax
 pistol, model #19, serial #PHV405, was secured and inspected by Lieutenant
                                                                               (1) round in the
 iegist.y #g06642,the ESU City Wide Supervisor. It was found to contain one
                                                   J




                                                                                                DEF 16762
                                                                Department-issued ammunition'
clramber and ten (10) rounds in the magazine of authoriz.ed
Lieutenant Licitra determined there was indicium of recent discharge'

                                  thorized            Sig Sauer, 9mm, semi-automatic
pistol, model                      25l,wa            ted by Lieutenant Michael Licitta,
tax registry #                    ty wide            found to contain one (1) round in
the chamber                        iounds e magazine of authorized Department-issued
ammunition. Lieutenant Licitra determined there was indicium of recent
                                                                          discharge'

                                                  weapon, a Glock, 9mm, semi-automatic pistol,
                                                  d inspected by Lieutenant Michael Licitra, tax
                                                   .It was found to contain one (1) round in the
                                                  e of authorized Department-issued ammunition'
Lieutenant Licitradetermined there was indicium of recent discharge'
                                                                                             Unit,
                Sergeant Arthur Beal, Patrol Borough Manhattan North lnvestigations
                                                                              their force record'
verified Detective Mateo, offrcer Kress and o flrcer Gieen's ftrearms against


    15.        MOS HISTORICAL DATA
                                                                                  and assigned
               Detective Mateo was appointed to the Departrnent on July 18, 1996
                                                                                   pistol range
to Emergency Service Unit on Februáry lg,200L He last attended the annual
                                                           no previous fireatms discharges'
qualificiion fycle on March 03,2012. Detective Mateo has

                 Police Officer Kress was appointed to the Department on February
                                                                                      28,1994 and
                                                                                  the annual pistol
assigned to Emergency service unit on ö.tou.t 10, 2010.        He  last attended
rang-e qualification .y"i. on April 1 8,2012. Officer Kress
                                                            has no previous firearms discharges'

                                                                                        2002 and
               Police Officer Green was appointed to the Department on July 01,
                                                                                      pistol range
assigned to Emergency Service Unit on Junã^02, 201 1. He
                                                            iast attended the annual
                                                                       firearms discharges'
qualilrcation cyclã on'lvlurch 2I,2ol2. Officer Green has no previous


    T6,         CRIME SCENE UNIT

               A.      Crime Scene Unit was notif,red and responded'

               B.      Crime Scene Run #12-756.
                                                                                            one (1)
               c.      Recovered, ten (10) 9mm spent shell casings, one (1) fired bullet,
                                                                                             pistol,
                       less then lethal projectile, one (l) Sig Sauer, 9rnm, semi-automatic
                       model #pZZ6, serial #U501251, one (1) Glock, 9mm, semi-automatic
                       pistol,model#19,serial#DWW887,one(1)Glock'9mm'semi-
                       àutomatic pistol, model #1g, serial # PHV405, two (2) spent
                                                                                   Taser
                                                                                and one
                       carrridge, Serial #REVC31008PC4X9 & #REVC31008982X9,
                       (1) large knife approximately 10" in length'


                                                  I4



                                                                                               DEF 16763
              D.      Detective Gilford, CSU, is assigned the case'


   17.        EMERGBNCY SERVICES UNIT
                                                                                         discharge
              Members of the Emergency Services Unit not involved in the firearms
were on scene and assisted in the evidence search and recovery.


    18.       BALLISTICS
                                                                                 firearms were
                Detective Mateo, police Officer Kress and Police Officer Green's
 delivered to the Firearms Analysis section, for examination/testing,
                                                                      by members of the Patrol
 Borough Manhattan North Investigations Unit'


    1S         TRAUMA UNIT

               All members of the service involved in this incident were apprised of the
availability of counseling services offered by the Department and outside the
                                                                                      Depaftment'
However,ã11involved members of the service declined at this time'


    20,        BOROUGH ASSIGNMENT

               Detective Mateo, Police Officer Kress and Police Officer Green will
                                                                                                 be
                                                                           Guide procedure'
temporarily assigned to their parent command, as pel the relevant Patrol


    21.        COMMUNITY AFFAIRS
                                                                                   along with
                Deputy Inspector Ehrenberg, Commanding Officer, 26tl' Precinct,
                                                                         prominent community
Lieutenant Norville, PgNiN Comrnunity Ãffuitt, contacted numerous
                                                                      the community for unrest'
leaders and clergy in order to advise them of the incide¡t and survey
As of the writing of this report, no community unrest was found.

    22.        REPORTS PREPARED
                                                                                  03 A
               Firearms D ischarge/Assault Report # 20 12-026-0004-0 1 A/ 02 Al
               uF 61                                  #20t2-026-03464
               Aided                                  #2012-26-77917801781



    22A,       EVIDENCE VOUCHERED

                Voucher Numbers
                   Glock,gMM, model 19                # 6000003139
                   Glock, 9MM, model 19               # 6000003 141

                                                 15




                                                                                              DEF 16764
                     Sig Sauer, 9MM, model P226         # 6000003142
                     Less then lethal Projectile        # 6000003 143
                     Fired bullet                       # 6000003144



    23.        MEDICAL INFORMATION
                                                                                   Cornell Medical
               Detective Mateo was taken to New York Presbyterian - Weill
                                                            left arrn, left shoulder and arm strain,
Center and treated and released for a puncture wound to his
right elbow strain, and tinnitus by Dr' Dua'

             Police Officer Kress was taken to New York Presbyterian - Weill
                                                                                   Cornell
Medical Center and treated and released for tinnitus by Dr. Anthony'

             police Officer Green was taken to New York Presbyterian - Weill Cornell
Medical Center and treated and released for tinnitus by Dr' Cordwell'

               Mr. Mohamed Bha sustained several gunshot wounds during the incident'
                                                                          at Saint Luke's Roosevelt
However, Mr. Bha was pronounced dead at20l6 hours by Dr. Ralston
Medical Center.


    24         RADIO RUN INFORMATION
                                                                                          report'
               A copy of SPRINT job #T1 1575 has been reviewed and attached to this


     25.       MISCELANEOUS
                                                                     and Officer Green was
              The breathalyzer examof Detective Mateo, Officer Kress
administereO Uy nep,riy Inspector Sheehan, Commanding
                                                      Offrcer, IAB Group #ll' atNew York
presbyterian - weill óo,.o.ï Medical center. All Offrcers were found to be fit for duty and
passed the test.

                                                                                   Robert Shannon,
               Detective Vincent Matias, tax registry #901930, and Detective
                                            pt.ãinci    Detective   Squad,  conducted  an evidence
tax registry #8g4g37, assigned to the á6tn
                                                          during daylight hours'         detectives'
search of the crime scene and surrounding buildings
                                                                                   -The
                                                                      of security Director  Eugene
escofted by Security- ôff.., Robert Silvei under the direction
                                                                                           Avenue'
Green, searched tfr" i'nïã.y roof landing and 6'h, 7'n, u4
                                                            8'h floors of 133  Morningside
a Board of Education Builáing with neg-ative  results.   The  detectives' still accompanied by Mr'
                                                                388 W' 125th Street with negative
Silver, also searched the Harfum Health Center located at
 results.

     26.           THE FOLLOWING WERE PRESENT

                   Chief Joseph J. EsPosito                  Chief of Department
                   Assistant Chief William T. Morris         C.O., Patrol Borough Manhattan North
                   Assistant Chief Harry Wedin               C.O., Special OPerations Division

                                                   t6



                                                                                                DEF 16765
            Deputy Chief JosePti R. RileY            X.O., Patrol Borough Manhattan North
            Deputy Chief Walter Salowski             C.O., Detective Borough Manhattan
            Deputy Chief Denis M. McCarthY           City Wide Duty Chief
            Deputy Chief James G. MolloY             C.O., Emergency Service Unit
            Inspector Harrington                     PBMN Operations Commander
            Inspector Capul                          PBMN Special Projects
            Inspector Colon                          C.O., Community Affairs Division
            Inspector Mekeel                         C.O., Real Time Crime Center
            Inspector Collamusi                      C.O., Investigative Review Division
            Inspector Caroli                         C,O., Firearms and Tactics Section
            Deputy Inspector StePhenson              PBMN Duty Inspector
            Deputy Inspector Benoit                  C.O., Crime Scene Unit
            Deputy Inspector Sheehan                 C.O., IAB, Group #11
            Deputy Inspector Barton                  C.O.,IAB, Group #21
            Deputy Inspector McSorleY                C.O., Manhattan North Det. OPs.
            Captain Hart                             Detective Borough Manhattan
            Captain Ventrella                        C.O., PBMN Task Force
             Captain Natale                          PBMN Duty Captain
             Captain Gazis                           C.O., Office of Prof. Dev.
             Captain Aramboles                       Emergency Service Unit
             Captain Galvin                          Emergency Service Unit
             Captain Mugan                           X.O., Crime Scene Unit
             Lieutenant Norville                     PBMN Community Affairs
             Lieutenant WhYte                        DCPI
             Lieutenant Corbett                       Chief of Department's Office
             Lieutenant Melendez                      C.O., 26th Detective Squad
             Sergeant Wright                          Chief of Patrol's Office
             Sergeant Cararcas                        Operations Divison



 27.         THE FOLLOWING WERE NOTIFIED

             Police Officer Ruane                     INRU
             Police Officer Van SchuYler              Operations, FDRB #87 s'12
             Police Officer Richards                  PBMN Wheel
             Detective Cooke                          IAB, Log #12-50993


  28.        RECOMMENDATION
                                                                                           Edwin
            The preliminary investigation into this incident is concluded. Detective
                                    pólice Officer Andrew Kress     discharged  three (3) rounds,
Mateo discharged five (5) órnds,
and Police Ofhcer M                             two (2) rounds from their authorized service
weapons, at an armed                            rson, that had just violently lunged and slashed
at Detective Mateo's                            sts with a latge kitchen knife and who was
advancing to continue his assault. Police Officer Kress deployed the
                                                                        X-26 Taser_and Sergeant
Joseph lti.Co.rnu.k deployed  the M-26 Taser, independently,      one  (l) time each at different
                      ^hoiever,
times at the subject;              neither Taser attempt was successful in restraining the

                                               T7




                                                                                           DEF 16766
 Emotionally Disturbed Person. Detective Mateo deployed the Arwen Munitions 'weapon
 discharging one (1) hard plagtic less lethal round at the subject which also proved to be
 ineffective. Unable to tactically retreat and confronted by the use of lethal force against them,
 three (3) officers discharged â totul of ten (10) rounds to terminate the threat' A final
 determination will be made at the conclusion oi a iollow-up investigation, which will include
                                                                                                 a

 formal interview of Detective Mateo, Police Officer Kress and Police Officer Gteen, as well as
 a review of any relevant information not currently available at    time of this report.




                                                      Captain




DISTRIBUTION
Chief of Department (DIRECT)
Chief of Department (THROUGH CHANNELS)
Chief of Department'À Investigation Review Section, Fireanns Discharge Review Board
Deputy Commissioner, Strategic Initiatives
Deputy Commissioner, Training
Deputy Commissioner, Public Information
Deputy Commissioner, Persorurel
Chief of Patrol
Chief of Detectives
Chief of Internal Affairs Bureau
Commanding Officer, Patrol Borough Manhattan North
Commandittg Officer, Special Operations Division
Executive Officer, Patrol Borough Manhattan North
Comrnanding Officer, Emergency Services Unit
Commanding Officer, Detective Borough Manhattan
Commanding Officer, Firearms and Tactics Section
Commandittg Offi..t, 26th Precinct
Commanding Off,tcer, SOD Investigations Unit
File




                                                18




                                                                                              DEF 16767
